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Of Attorneys for Lane County, Riley, Jester, McClure, Fifer, Fisher, Foley,
Baeuerlen, Gent, Gawith, Edwards, Santini, and Wilson


                                UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON
                                         EUGENE DISTRICT

 ANZHELIKA PAYNE, personal representative              Case No. 6:22-cv-00471-MC
 to the estate of LANDON JAY PAYNE,
                                                       DECLARATION OF ANDREA D.
                   Plaintiff,                          COIT IN SUPPORT OF LANE
                                                       COUNTY DEFENDANTS’ MOTION
                                                       FOR SUMMARY JUDGMENT
           v.

 JAIRO SOLORIO, an individual, ANDREW
 ROBERTS, an individual, JACOB THOMAS,
 an individual, ROBERT GRIESEL, an
 individual, JUSTIN WILSON, an individual,
 ZACHERY FULTON, an individual, EMMA
 GROTEFEND, also known as EMMA
 EDWARDS, an individual, COLTER
 GAWITH, an individual, NATHAN GENT, an
 individual, MICHAEL BAEUERLEN, an
 individual, STEPHEN FOLEY, an individual,
 JOSEPH FISHER, an individual, JEREMY
 FIFER, an individual, WILLIAM MCCLURE,
 an individual, LANCE JESTER, an individual,
 RICHARD CLINTON RILEY, an individual,
 CONNOR WEST SANTINI, an individual,
 LANE COUNTY, and CITY OF EUGENE, a
 municipal corporation.

                           Defendants.




Page 1 –        DECLARATION OF ANDREA D. COIT IN SUPPORT OF LANE COUNTY
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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       I, Andrea D. Coit, do hereby declare as follows:

       1.       I am one of the attorneys for the Lane County Defendants in this matter.

       2.       Attached hereto as Exhibit 1 is a true and accurate copy of Reporting Officer

Solario’s Narrative report.

       3.       Attached hereto as Exhibit 2 is a true and accurate copy of Officer Thomas’s Case

Supplemental Report.

       4.       Attached hereto as Exhibit 3 is a true and accurate copy of the firefighter’s

Incident Response Report.

       5.       Attached hereto as Exhibit 4 are true and accurate excerpts of the deposition of

Robert Griesel.

       6.       Attached hereto as Exhibit 5 is a true and accurate copy of Sgt. Griesel’s

Supplemental Report.

       7.       Attached hereto as Exhibit 6 are true and accurate excerpts of the deposition of

Lance Jester.

       8.       Attached hereto as Exhibit 7 are true and accurate excerpts of the deposition of

Michael Baeuerlen.

       9.       Attached hereto as Exhibit 8 is a true and accurate copy of the Lane County Jail

Security COVID-19 Protocols in effect on March 27, 2020.

       10.      Attached hereto as Exhibit 9 are true and accurate excerpts of the deposition of
Richard Clinton Riley.

       11.      Attached hereto as Exhibit 10 are true and accurate excerpts of the deposition of

Conner Santini.

       12.      Attached hereto as Exhibit 11 are true and accurate copies of the memoranda of

all of the Lane County Deputies who were present during Mr. Payne’s time in the sally port

describing their involvement with the incident.

       13.      Attached hereto as Exhibit 12 is a true and accurate copy of the Medical

Examiner’s Report.

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             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
        Case 6:22-cv-00471-MC           Document 58      Filed 07/17/24     Page 3 of 132




       14.       Attached hereto as Exhibit 13 are true and accurate excerpts of the deposition of

Justin Wilson.

       15.       Attached hereto as Exhibit 14 are true and accurate excerpts of the deposition of

Zachary Fulton.

       16.       Attached hereto as Exhibit 15 are true and accurate excerpts of the deposition of

Emma Grotefend.

       17.       Attached hereto as Exhibit 16 are true and accurate excerpts of the deposition of

Colter Gawith.

       18.       Attached hereto as Exhibit 17 are true and accurate excerpts of the deposition of

Stephen Foley.

       19.       Attached hereto as Exhibit 18 are true and accurate excerpts of the deposition of

Jeremy Fifer.

       20.       Attached hereto as Exhibit 19 are true and accurate excerpts of the deposition of

William McClure.

       21.       Deputy Baeuerlen wore a body camera throughout the entire Lane County

interaction with Mr. Payne. A true and accurate copy of that video footage is contained on a

thumb drive identified as Exhibit 20, which will be mailed to the court and all parties.

       22.       Attached hereto as Exhibit 21 are true and accurate excerpts of the deposition of

Jairo Solario.
       Pursuant to ORCP 1E, I hereby declare that the above statements are true to the best of

my knowledge and belief, and I understand they are made for use as evidence in court and are

subject to penalty for perjury.

       DATED this 17th day of July, 2023.

                                           HUTCHINSON COX

                                           By:     s/Andrea D. Coit
                                                 Andrea D. Coit, OSB #002640



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             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                   CERTIFICATE OF SERVICE

       I certify that on July 17, 2024, I served or caused to be served a true and complete copy

of the foregoing DECLARATION OF ANDREA D. COIT IN SUPPORT OF LANE

COUNTY DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT on the party or

parties listed below as follows:

                 Via the Court’s Efiling System

                 Via First-Class Mail, Postage Prepaid

                 Via Email

                 Via Personal Delivery

                 Via Facsimile

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           Of Attorneys for Plaintiff
                                                              Of Attorneys for Defendants


                                           HUTCHINSON COX


                                           By:     s/Andrea D. Coit
                                                 Andrea D. Coit, OSB #002640
                                                 Ariana Denley, OSB #173314
                                                 Of Attorneys for Lane County, Riley, Jester,
                                                 McClure, Fifer, Fisher, Foley, Baeuerlen, Gent,
                                                 Gawith, Edwards, Santini, and Wilson




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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF OREGON
                              EUGENE DISTRICT


         ANZHELIA PAYNE, personal
         representative to the estate of
         LANDON PAYNE,

                        Plaintiff,
         v.                                         No. 6:22-CV-00471-MC

         JAIRO SOLORIO, individual, ANDREW
         ROBERTS, an individual, JACOB
         THOMAS, an individual, ROBERT
         GRIESEL, an individual, JUSTIN
         WILSON, an individual, KIMBERLY
         FULTON, an individual, EMMA
         EDWARDS, an individual, COLTER
         GAWITH, an individual, NATHAN GENT,
         an individual, MICHAEL BAEUERLEN,
         an individual, STEPHEN FOLEY, an
         individual, JOSEPH FISHER, an
         individual, JEREMY FIFER, an
         individual, WILLIAM MCCLURE, an
         individual, LANCE JESTER, an
         individual, CLINT RILEY, an
         individual, C. SANTINI, an
         individual, LANE COUNTY, and CITY
         OF EUGENE, a municipal corporation,

                   Defendants.
         _____________________________________________________


                                                VIDEOTAPED DEPOSITION OF

                                                 SERGEANT ROBERT GRIESEL


                                                               TAKEN ON
                                             MONDAY, SEPTEMBER 18, 2023
                                                              1:45 P.M.


                                                EUGENE POLICE DEPARTMENT
                                                   300 COUNTRY CLUB ROAD
                                                   EUGENE, OREGON 97401
                                                                     Exhibit 4
                                                                   Page 1 of 5
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                        Robert Griesel Sgt September 18, 2023 NDT Assgn # 68572   Page 65


 1       A.     Yep.

 2       Q.     Okay.     In this case, did you ever hear the

 3 words that Mr. Payne was medically cleared?

 4       A.     They said he was cleared to transport to

 5 the jail.

 6       Q.     Who said that?

 7       A.     Whoever the medic was that I was talking

 8 to.

 9       Q.     You personally heard that from the medic?

10       A.     Yes.

11       Q.     Okay.     So did you make the decision, then,

12 to have Mr. Payne transported to the jail at that

13 point?

14       A.     Yes.

15       Q.     You gave Solorio direction to transport

16 Mr. Payne, despite the fact that no vitals had been

17 taken, to the jail at that point?

18       A.     Yes.

19       Q.     Despite the fact that you had observed him

20 having trouble breathing and had commented on that,

21 you gave a direction to have him go to the jail and

22 not the hospital?

23       A.     The medics refused to transport him to the

24 hospital.

25       Q.     Okay.     Who -- who told you that and why?



                                                                             Exhibit 4
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                        Robert Griesel Sgt September 18, 2023 NDT Assgn # 68572   Page 66


 1       A.     I don't know who told me that.                I don't

 2 know why they said that.

 3       Q.     So you asked the medics to -- I'm -- I

 4 guess I need to back up.            The medics were asked to

 5 transport him to the hospital?

 6       A.     I asked them if they were going to take

 7 him to the hospital, and they said they were not.

 8 And I asked him if he was safe to be transported to

 9 the jail, and they said he was.

10       Q.     Okay.     Do you recall who you were speaking

11 to when that conversation occurred?

12       A.     I do not.

13       Q.     Okay.     Do you recall if there was anyone

14 else around you when that conversation occurred?

15       A.     I do not.

16       Q.     Okay.     And have you -- you said you

17 reviewed your body-worn camera?

18       A.     Yes.

19       Q.     The majority of that is muted.                Would you

20 agree with that?

21       A.     Yes.

22       Q.     Would the person that you had the

23 conversation with still appear on your camera?

24       A.     Yes.

25       Q.     And does he?



                                                                             Exhibit 4
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                        Robert Griesel Sgt September 18, 2023 NDT Assgn # 68572   Page 69


 1 individual that was at the 10 minute and 17 second

 2 mark that I showed you?

 3       A.     Well, there were -- there were two -- two

 4 guys there.      I -- looked like I was talking to the

 5 skinnier guy on the right.

 6       Q.     And you don't know who that is?

 7       A.     I don't.

 8       Q.     But is your testimony today that that's

 9 who told you that he was cleared to be transported

10 -- that Mr. Payne was cleared to be transported to

11 the jail?

12       A.     Yes.     We'd had a discussion about whether

13 he was safe to transport to the jail knowing that

14 they had a more robust medical staff on site at the

15 jail that would -- that would evaluate Mr. Payne

16 when we arrived.

17       Q.     And when you said, "We had a discussion",

18 who is "we"?

19       A.     The medic and I.

20              (WHEREUPON, Exhibit 217 was marked for

21 identification.)

22 BY MS. HILLMAN:

23       Q.     Okay.     Can you turn to what's been marked

24 as Exhibit 217?        On the second page there of that

25 exhibit, there's a section titled "Unit Narrative."



                                                                             Exhibit 4
                                                                           Page 4 of 5
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1                                  CERTIFICATE

2

3            I, Ryan Batterson, do hereby certify that I

4      reported all proceedings adduced in the foregoing

5      matter and that the foregoing transcript pages

6      constitutes a full, true and accurate record of said

7      proceedings to the best of my ability.

8

9            I further certify that I am neither related

10     to counsel or any party to the proceedings nor have any

11     interest in the outcome of the proceedings.

12

13           IN WITNESS HEREOF, I have hereunto set my hand this

14     9th day of October, 2023.

15

16

17

18

19                      Ryan Batterson

20

21

22

23

24

25



                                                                         Exhibit 4
                                                                       Page 5 of 5
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             IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                           EUGENE DIVISION



   ANZHELIA PAYNE, personal                 )

   representative to the estate             )

   of LANDON PAYNE,                         )

                 Plaintiff,                 )

        v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                  )

                 Defendants.                )



                    DEPOSITION OF LANCE JESTER

                           October 16, 2023

                                 Monday

                               2:00 P.M.



                THE VIDEO-RECORDED DEPOSITION OF LANCE

   JESTER was taken at Hutchinson Cox, 940 Willamette

   Street, Suite 400, Eugene, Oregon, 97401, before

   Sara Fahey Wilson, CSR/CCR, Certified Shorthand

   Reporter in and for the State of Oregon and

   Washington.




                          ccreporting.com
                                                                Exhibit 6
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1       would come in for swing shift he would still be

2       there.    As far as interaction, I don't know if you

3       want to be more specific.           But I saw him on a daily

4       basis during the week.

5            Q.      When you saw Captain Riley on a daily

6       basis during the week, did you usually begin -- or

7       begin your shift by talking to him and getting kind

8       of a briefing?

9            A.      No.

10           Q.      On a -- like, in a typical week, how many

11      times would you actually, like, have a conversation

12      with Captain Riley?

13           A.      As far as a briefing about jail policy or

14      procedure?

15           Q.      Or any other kind of conversation.

16           A.      Oh, several times a week I would have a

17      conversation with him.

18           Q.      Let's -- this might be a good time for you

19      to kind of give your summary of what you remember

20      happening on March 27th, 2020.            Can you describe

21      that incident as best you can beginning with when

22      the deputies assembled and went into the sally port?

23           A.      We received -- I received a phone call

24      from our central control saying that they had

25      received a phone call from the Eugene Police




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1       Department that they were bringing in a combative

2       male.    At that point in time I went downstairs to

3       await their arrival with the rest of our deputy

4       staff that had assembled for this.

5                    We had the name of the person, the -- our

6       records department, due to COVID, contacted --

7       because there was a warrant, I believe, out of

8       another county that was the main thing he was being

9       arrested on at the time, and we were able to get

10      that warrant cleared because, again, COVID was here

11      and nobody wanted to transport on most of their

12      warrants, it seemed like, unless it was very

13      serious.

14                   So after going out and initially speaking

15      with him, I received word that the warrant was

16      cleared, so I told the Eugene Police Department that

17      the warrant was cleared and if they wanted to cite

18      and release on whatever the other charge they had --

19      I think it was resisting at the time.               I'm not

20      really sure.

21                   They told me no, that they would just have

22      to deal with him again, so at that point we needed

23      to evaluate Mr. Payne more thoroughly.

24                   He was in the back of the car yelling,

25      moving around and stuff, and we received report from




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1       Eugene that he had fought with them.

2                    Staff tried to talk with him.              Really

3       couldn't get much information out of him, so we --

4       to better evaluate him, we needed to remove him from

5       the vehicle.         We had our nurse out there.           Due to

6       COVID protocols, the nurse was now outside -- so

7       that was helpful -- and to try and get at least an

8       initial reading on everything.

9                    So we removed Mr. Payne from the vehicle.

10      He was kicking, and -- his legs -- and just in

11      general, you know, resisting everybody.                 So he was

12      laid on the ground to have leg restraints placed on

13      him to avoid us being kicked.

14                   Our nurse moved in to try and talk to him,

15      get a temperature on him and stuff, but he was not

16      communicating with us.           He was just making grunting

17      noises and thrashing around so we needed to get him

18      further restrained so we could move him inside so

19      the medical staff could better evaluate him.

20                   After a short period of time I bent down

21      and I was trying to communicate with him, asking him

22      if he had taken any drugs, anything that we need to

23      be aware of.         We need to know -- we ask everybody,

24      you know, if they've taken anything they are going

25      to withdraw from, anything -- you know, and he




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1       wouldn't answer.

2                    Staff was trying to keep him under control

3       on the ground.       I was standing -- or I was kneeling

4       down at his head area while I was trying to talk to

5       him.    I also was making sure that nobody was, you

6       know, putting any weight in the middle of his back,

7       anything like that, so that, you know, he could

8       breathe better.

9                    And initially we were just trying to get

10      the leg restraints on him and then we would get him

11      stood up and get them off their stomach -- we don't

12      want to keep people on their stomach very long --

13      and move him inside where we can better evaluate

14      somebody.     But at that point we noticed that, you

15      know -- we were telling him to calm down, and stuff,

16      and then he, you know, stopped fighting as much.

17      And then we realized that his lips were turning

18      blue, so we moved him onto his side to try and

19      evaluate him better.

20                   And then we ended up not being able to

21      find a pulse, so he was -- CPR was started.                 Called

22      for a crash cart of our own -- from our own medical

23      staff also called for an ambulance at that time.                     We

24      continued lifesaving measures.            CPR was continued

25      until the ambulance got there.




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1            Q.      Why did you ask the arresting officer

2       whether Landon Payne could just be cited and

3       released?

4            A.      To avoid having to lodge him in the jail.

5            Q.      Why didn't you want to lodge Landon Payne

6       in the jail?

7            A.      With the COVID protocols and stuff like

8       that, we were trying to keep our numbers down.                     At

9       that time that was right when COVID first started.

10      I mean, we don't know -- we didn't know back then

11      what we know now, so we were doing the best we can

12      to manage and not put people in jail if we didn't

13      absolutely have to.

14           Q.      And if the arresting officer -- did you

15      know that it's Officer Solorio?

16           A.      I did not know him.

17           Q.      Okay.

18                   So I'll just call -- I'll just call him

19      the arresting officer.          You know who I'm talking

20      about, right, when I say "arresting officer"?

21           A.      Yes.

22           Q.      If the arresting officer had agreed to

23      allow just a citation and a release to occur, what

24      are the policies then for somebody like Landon

25      Payne?    Like, do you just open the door and let him




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1       middle, so . . .

2             Q.     Can you think of any other time where you

3       asked an arresting officer if they want to CLC the

4       person?    You know what that means.              Right?

5             A.     Yes.

6             Q.     -- and the arresting officer has agreed to

7       take the person away somewhere else, not the jail?

8             A.     Not -- I mean, we've had -- we've referred

9       custody for outside medical clearance.                 They come

10      in.    They have something -- a blood pressure is, you

11      know, 220 over, you know, 163.            You know, Hey, you

12      know, they need to go to the hospital and get

13      cleared.

14                   Once they get cleared, you can bring them

15      back, and sometimes we won't get them back so

16      obviously a CLC happened.           But we don't just, Hey,

17      you want to CLC them instead?            That's not -- you

18      know, unless we have a reason to ask the question,

19      we don't -- we don't do that.

20                   I mean, the Eugene Police Department pays

21      for beds so, you know, we take the people they bring

22      us, unless there's something weird that happens like

23      in this case, and, like, COVID had just started, and

24      there's other things going on that had me ask that

25      question, you know, Do we need -- do we need to




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1       bring him in or can you CLC?              That was my question,

2       you know.

3                    And they told me, "He's coming in or we're

4       just going to have to deal with him again," so . . .

5            Q.      Did you get the sense when you talked to

6       the arresting officer that when he -- when you told

7       him that the warrant had been cleared -- that now

8       the arresting officer wanted him lodged based on the

9       resisting?

10                           MR. MORROW:     Objection.      Calls for

11      speculation.         Form of the question.

12                           You can go ahead and answer.

13                           MS. COIT:     You can answer.

14           A.      That was the only thing to arrest him on,

15      so I would assume that he wanted him brought in for

16      the charge that he was bringing to the table, so to

17      speak, because the other one was cleared.                  We

18      couldn't hold him on that one.              If there was no

19      other charge, the guy is free to go.                There's

20      nothing to hold him on.

21      BY MR. LARWICK:

22           Q.      Did the arresting officer say anything to

23      you about whether he wanted Landon Payne to be free

24      to go or not?

25           A.      No.




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1            Q.      He didn't give any indication about that?

2            A.      Absolutely not.

3            Q.      Did the arresting officer say to you that

4       he didn't want to deal with Landon Payne again that

5       night?

6            A.      Yes.

7            Q.      What was that conversation?

8            A.      When I asked him if he wanted to CLC, his

9       response to me was, "No.           We're just going to have

10      to deal with him again."

11                   That was pretty much the gist of --

12      exactly what he said.         I don't know if those are the

13      exact words, but he did say, "We're just going to

14      have to deal with him again," so he would not CLC.

15           Q.      In March 2020 what was the policy

16      regarding putting leg irons on somebody?                What

17      circumstances?

18           A.      We use leg restraints -- we need to

19      restrain somebody if they are combative, if they are

20      kicking, stuff like that, we need to control their

21      legs.     The legs are the one of the most dangerous

22      parts of the human body.           They are the strongest.

23           Q.      And was Landon Payne kicking?             Is that why

24      the jail put leg restraints on him?

25           A.      He was kicking his legs -- he wasn't




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1       kicking at anybody at the moment, but he was kicking

2       his legs, he was thrashing around, his whole body

3       was not in control, so leg restraints were going to

4       be applied so that he did not kick anybody, whether

5       it be on accident or on purpose if he decided to

6       kick somebody.

7            Q.      So you mentioned that Landon Payne was not

8       kicking at anybody.         Did you see Landon Payne act

9       violent towards anybody that evening -- toward

10      anybody?

11           A.      Specifically toward anybody?             No.   Just

12      his whole body -- he was just thrashing around.

13           Q.      But there was nothing that you perceived

14      to be an attempt by Landon Payne to hurt anybody

15      like another deputy or anything.             Correct?

16           A.      I did not see something that looked like

17      he was legitimately attempting to hurt somebody at

18      that moment.

19           Q.      Did you ever hear Landon Payne say that he

20      wanted to hurt anybody or threaten anybody?

21           A.      No.

22           Q.      What actually did you observe with regard

23      to Landon Payne being either combative or

24      noncompliant?

25           A.      When we brought him out of the car he was




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1       thrashing around, moving his shoulders, his arms,

2       trying to pull away, which is another reason why we

3       placed him on the ground.           And, again, his whole

4       body was thrashing.         He was lifting his arms and

5       turning his whole torso.

6            Q.      So when you say, "he was lifting his arms

7       and turning his whole torso," was that when he was

8       face down on the ground?

9            A.      Yes.

10           Q.      Okay.

11                   Continue.      Anything else you saw that was

12      combative?

13           A.      And I saw his upper body, but, I mean, his

14      whole body was thrashing around.             I could see the

15      deputies down at his legs struggling to control him.

16           Q.      At some point one of the nurses took the

17      temperature of Landon Payne.             Is that right?

18           A.      Yes.

19           Q.      Why couldn't that be done in the police

20      car where he was handcuffed and restrained with a

21      seat belt?

22           A.      We have no idea how he's going to react,

23      and you don't want to crawl into the back of the car

24      with somebody who has -- again, their legs are free.

25      They can turn.       They can kick you.           They can do




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1       anything.     We have no information.             We're not going

2       to put a nurse in a situation like that.

3            Q.      Was that the first day that the jail

4       started taking temperatures of people who were

5       brought to the jail?

6            A.      I believe so.

7            Q.      And the practice or the policy was to take

8       the person out of the police car and put them face

9       down on the ground and then take their temperature?

10           A.      No.

11           Q.      What was the policy?

12           A.      The policies were if somebody is

13      cooperative, you can just take their temperature and

14      then you walk somebody in.           We never put somebody on

15      the ground unless they are being uncooperative in

16      some way.

17           Q.      When you look back at Exhibit 230, do you

18      see where it says (as read):             EPD arrived and

19          reported that Payne had been tased and has

20          been yelling and screaming since they

21          arrested him?

22           A.      Yes.

23           Q.      What's the significance of the "had been

24      tased"?

25           A.      We just -- you know, it's just general




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1            Q.      Who was the arresting officer talking to?

2       Was it Baeuerlen or somebody else?

3            A.      It probably would have been Baeuerlen.

4       Baeuerlen was wearing the body camera to go try and

5       talk to Payne so he would have taken the initial

6       report from the arresting officer.

7            Q.      When you overheard the conversation from

8       the arresting officer, was there any discussion of

9       Landon Payne being violent or aggressive toward

10      anybody else before he had arrived to the jail?

11           A.      They said that they had to -- that he had

12      fought with them, so -- during the arrest.

13           Q.      The arresting officer said that Landon

14      Payne had fought with them?

15           A.      I believe so.

16           Q.      Are you sure that the arresting officer

17      didn't say that Landon Payne had been uncooperative?

18           A.      No, I'm not sure.

19           Q.      Okay.

20                   So is the term "leg irons" -- is that the

21      same as leg restraints?

22           A.      Correct.

23           Q.      What material are they made out of?

24           A.      Stainless steel.

25           Q.      Are they similar to handcuffs?




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1            A.      Yes.

2            Q.      Did you see in your memo, Exhibit 230,

3       where you wrote (as read):           Payne's breathing

4           was labored, and I checked to make sure staff

5           was not applying any pressure on his upper

6           torso that would impede his breathing?

7            A.      Yes.

8            Q.      Why was that important not to place

9       pressure on Landon Payne's upper torso?

10           A.      We're trained not to do that for

11      positional asphyxiation.           We don't want to have any

12      weight on their back to impede their breathing.                    So

13      that's something that at the jail, if we're involved

14      in any kind of incident, use of force or something,

15      we do everything we can not to be on top of the

16      person.

17           Q.      When you wrote, "I checked to make sure,"

18      what did you do to check to make sure that staff was

19      not applying any pressure?

20           A.      I looked right down his centerline as I

21      was kneeling at his head.

22           Q.      And what did you see when you looked down

23      Landon Payne's centerline?

24           A.      I couldn't see anybody that was putting

25      pressure on his back.




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1       will take him in"?

2            A.      Not in those words, but, I mean, we were

3       going to -- it was our responsibility to evaluate

4       him for housing/lodging at that point once he said

5       that he wasn't going to CLC, so we were going to

6       have to go through our evaluation process.

7                    At any given time if our medical staff

8       decides that, you know, there needs to be some sort

9       of outside medical clearance, then they would

10      actually go right back to the arresting officer and

11      have to go to the hospital.

12           Q.      Did you tell the arresting officer, "He

13      might end up back out anyways?               I mean, that's just

14      the way it is right now"?

15           A.      No.

16           Q.      Did you ever hear whether Landon Payne had

17      been cleared -- medically cleared after he had been

18      tased?

19                           MR. MORROW:     Objection.      Asked and

20      answered.

21                           MS. COIT:     I join.

22                           Do you have anything to add to that

23      question?

24      BY MR. LARWICK:

25           Q.      You still have to answer.




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1       Mr. Payne.

2            Q.      So the deputy who is holding Landon

3       Payne's head to the floor, that's for purposes of

4       getting a temperature?

5            A.      No.     That's to keep him from turning

6       around, spitting, or anything else.               You're

7       controlling the head at this point.

8            Q.      So that was within the policy to hold

9       Landon Payne's head to the floor like that?

10           A.      To hold onto his head, yes, to make sure

11      he doesn't turn his head and spit on you or anything

12      else.

13           Q.      Does the Lane County policy in March of

14      2020 say that the officer holding the head is

15      supposed to press it into the floor?

16           A.      There's -- nothing covers it at all.

17           Q.      There's no policy on that issue?

18           A.      No.

19           Q.      And in March of 2020 there was no policy?

20           A.      No.     It's for safety and security.            You

21      know, you're trying to control the head so that he

22      can't do anything.

23           Q.      Did deputies on or before March of 2020

24      receive training on controlling the head?

25           A.      Yeah, I mean, we do general defensive




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1       tactics training, and head control is, you know, one

2       of the things that we do.

3            Q.      Is pressure on a person's head part of

4       what can cause positional asphyxia?

5            A.      Not to my knowledge.

6            Q.      That wasn't part of the training on

7       positional asphyxia?

8            A.      I don't recall that.

9            Q.      Can you turn to Exhibit 165?              In this

10      Exhibit 165 where are you located?

11           A.      Right there (indicating) in the forescreen

12      standing up.         First person.

13           Q.      Let's turn to Exhibit 166.             So Exhibit 166

14      shows when the crash cart was brought to the scene.

15           A.      Uh-huh.

16           Q.      Correct?

17           A.      Looks like it, yes.

18           Q.      And you're the person farthest to the

19      left?

20           A.      Yes.

21           Q.      Not counting the police officers?

22           A.      Yes.

23           Q.      Were the Lane County deputies trained in

24      how to use the crash cart?

25           A.      A crash cart, all it does is transport




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                                   1       State of Oregon         )
                                                                   )       ss.
                                   2       County of Lane          )

                                   3

                                   4            I, Sara Fahey Wilson, CSR, a Certified Shorthand

                                   5       Reporter for the State of Oregon, certify that the

                                   6       witness was sworn and the transcript is a true

                                   7       record of the testimony given by the witness; that

                                   8       at said time and place I reported all testimony and

                                   9       other oral proceedings had in the foregoing matter;

                                   10      that the foregoing transcript consisting of 130

                                   11      pages contains a full, true and correct transcript

                                   12      of said proceedings reported by me to the best of my

                                   13      ability on said date.

                                   14           If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17           IN WITNESS WHEREOF, I have set my hand this 30th

                                   18      day of October 2023, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21

                                   22


                                   23      Sara Fahey Wilson, CSR

                                   24      CSR No. 06-0400

                                   25      Expiration Date:        March 31st, 2026




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             IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF OREGON

                          EUGENE DIVISION



   ANZHELIA PAYNE, personal                )

   representative to the estate            )

   of LANDON PAYNE,                        )

                 Plaintiff,                )

        v.                                 ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                 )

                 Defendants.               )



               DEPOSITION OF MICHAEL BAEUERLEN

                          October 19, 2023

                               Thursday

                              10:02 A.M.



               THE VIDEO-RECORDED DEPOSITION OF MICHAEL

   BAEUERLEN was taken at Hutchinson Cox, 940

   Willamette Street, Suite 400, Eugene, Oregon, 97401,

   before Sara Fahey Wilson, CSR/CCR, Certified

   Shorthand Reporter in and for the State of Oregon

   and Washington.




                         ccreporting.com
                                                              Exhibit 7
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1       Landon Payne incident?

2              A.       I don't recall.

3              Q.       Did you watch the sally port video, for

4       example, before you read the Eugene Weekly article

5       or after?

6              A.       I don't recall.

7              Q.       Who took the body camera that you were

8       wearing off of you and put it into the docking

9       station?

10             A.       I -- what happened was is when I began

11      my portion of the CPR, one of the deputies grabbed

12      my -- or asked for my body cam, which I gave it to

13      him.        And then it usually goes to the sergeant's

14      office there after that.           I don't have a real sharp

15      recollection of that point as I was busy working on

16      other things.

17             Q.       So after you gave the body camera to

18      another deputy, did you ever get it back?

19             A.       No.

20             Q.       Did you ever go and look at the footage

21      captured by that body camera that day or the day

22      afterward?

23             A.       No.

24             Q.       When was the first time that you saw the

25      body camera footage?




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1            A.     Yes.

2            Q.     And then what happened next?

3            A.     Since I was a trainee on that point I was

4       one that would be taking the lead on it, so I had

5       started a body camera and gave a quick explanation

6       of the time and day and what was going on.

7                   Then we'd all gather in there and we'd go

8       out to the sally port and contact the arresting

9       officer.

10           Q.     And did you have a conversation with the

11      arresting officer?

12           A.     A short one, yes.

13           Q.     And that was Officer Solorio?

14           A.     I don't remember who it was.            I just

15      remember it was the Eugene Police Department.

16           Q.     What's -- what do you remember about that

17      conversation, if anything?

18           A.     It was real quick.          He was just giving me

19      a quick synopsis of the individual, what they had

20      done, and how he was behaving.

21           Q.     Did the arresting officer say anything

22      about whether Mr. Payne had been tased?

23           A.     Yes.

24           Q.     What did he say?

25           A.     He told me he had to tase him to gain




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1       control of him.

2            Q.      Okay.

3                    And then what happened next?

4            A.      He also continued saying that he was

5       resisting arrest, so once they got him they put him

6       in the car and then they drove him to the jail.                  And

7       then after -- and then we confirmed the individual's

8       name.     And then we got together and started talking

9       on how we were going to work this.

10                   And the one thing that we do when we deal

11      with individuals like that is we start asking them

12      our initial assessment questions in the car, which

13      was what I started doing, and I noticed that --

14      observed Payne yelling and screaming at the top of

15      his lungs.     And when I asked if he had any injuries

16      or illnesses, or had he been hurt, or if he was

17      suicidal, he denied -- did not respond to me.

18           Q.      At any point that evening that you

19      interacted with Landon Payne did he ever say an

20      intelligible sentence that you heard?

21           A.      Not that I recall, no.

22           Q.      What about any -- even a single word?

23           A.      I don't remember -- if he said anything, I

24      don't remember what he said.

25           Q.      Okay.




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1       right?

2            A.     Uh-huh.

3            Q.     Is that what was said?

4            A.     Yeah.     We were going to take him out, get

5       him into leg irons, and then we would take him in.

6            Q.     Okay.

7                   So then what happened next after that plan

8       was formed?

9            A.     We had opened the door and we pulled him

10      out of the car.       And then he was really resistive

11      and not following our instructions so at that point

12      we decided to lay him on the ground so we can get

13      the leg irons on him.

14           Q.     When you say "we decided" that, who

15      decided that with you?

16           A.     It was just kind of a pull-out, let's get

17      him on the ground, and then . . .

18           Q.     Was there anybody in charge of the scene?

19           A.     Ultimately it would have been Sergeant

20      Jester.

21           Q.     So was Sergeant Jester giving commands and

22      coordinating with other deputies at that time?

23           A.     It was so chaotic and loud, I don't

24      remember.

25           Q.     Were you doing anything to control the




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1            A.      Yes.

2            Q.      And are either of those arms yours?

3            A.      No.

4            Q.      Were you watching Landon Payne while he

5       was being removed from the vehicle?

6            A.      Yes.

7            Q.      You could see through the -- were you

8       looking through the glass rear door or were you

9       looking through the crack between the door and the

10      vehicle?

11           A.      Through the door in the vehicle -- through

12      the crack of the door in the vehicle.             The one

13      exhibit back here, I think it was 145, where you see

14      me standing at the end of the door right there

15      (indicating), that is pretty much where I was at

16      when they were pulling him out of the vehicle.                   And

17      then as they passed me, that's when I had put my

18      hands on him.

19           Q.      And what did you do when you put your

20      hands on Landon Payne?

21           A.      I had control -- at that point I took

22      control of his right arm.

23           Q.      Did you ever let go of Landon Payne's

24      right arm?

25           A.      I don't believe so.        I may have, though.




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1              A.   Yeah.    Right above his patch.

2              Q.   And what were you doing at this point in

3       time?

4              A.   I do not remember.          I think I was just

5       holding onto his arm area.

6              Q.   Do you think this is around the time when

7       Landon Payne stopped breathing, Exhibit 165?

8              A.   I don't know.

9              Q.   Okay.

10                  Let's turn to Exhibit 166.           Do you

11      remember a cart of medical supplies being brought

12      out?

13             A.   Vaguely.     I don't remember when it was

14      brought out.

15             Q.   Did -- do you know who called for the

16      medical supply cart?

17             A.   I don't know who did.

18             Q.   Did you call that a crash cart, by the

19      way?

20             A.   No.

21             Q.   Have you ever heard the term "crash cart"?

22             A.   Yes.

23             Q.   What is a crash cart?

24             A.   It's for people who are having cardiac

25      arrest episodes.




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                                   1       State of Oregon        )
                                                                  )       ss.
                                   2       County of Lane         )

                                   3

                                   4            I, Sara Fahey Wilson, CSR, a Certified Shorthand

                                   5       Reporter for the State of Oregon, certify that the

                                   6       witness was sworn and the transcript is a true

                                   7       record of the testimony given by the witness; that

                                   8       at said time and place I reported all testimony and

                                   9       other oral proceedings had in the foregoing matter;

                                   10      that the foregoing transcript consisting of 92 pages

                                   11      contains a full, true and correct transcript of said

                                   12      proceedings reported by me to the best of my ability

                                   13      on said date.

                                   14           If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17           IN WITNESS WHEREOF, I have set my hand this 3rd

                                   18      day of November 2023, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21

                                   22


                                   23      Sara Fahey Wilson, CSR

                                   24      CSR No. 06-0400

                                   25      Expiration Date:       March 31st, 2026




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             IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                          EUGENE DIVISION



   ANZHELIA PAYNE, personal                )

   representative to the estate            )

   of LANDON PAYNE,                        )

                 Plaintiff,                )

        v.                                 ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                 )

                 Defendants.               )



             DEPOSITION OF RICHARD CLINTON RILEY

                          November 2, 2023

                               Thursday

                              9:11 A.M.



                THE VIDEO-RECORDED DEPOSITION OF RICHARD

   CLINTON RILEY was taken at Hutchinson Cox, 940

   Willamette Street, Suite 400, Eugene, Oregon 97401,

   before Sara Fahey Wilson, CSR/CCR, Certified

   Shorthand Reporter in and for the State of Oregon

   and Washington.




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1            A.      Well, to come into the jail, to come

2       through the threshold of the jail, everybody has to

3       be restrained and handcuffed.           In my experience of

4       working in the jail I haven't seen very many law

5       enforcement agencies not have somebody handcuffed

6       when they are in a patrol car.

7                    I have seen numerous times where

8       someone -- we have breathalyzer machines and

9       different things out in our sally port.               It's up to

10      the arresting officer out there before they try to

11      bring them in the jail.         I've seen them have people

12      unrestrained out there as they are doing the course

13      of their duties and stuff.

14                   But typically it's been my experience that

15      people come to jail handcuffed, and then before you

16      come into the jail you have to be handcuffed.

17           Q.      And is that a procedure for the jail, or

18      is that a GO somewhere that before somebody

19      enters --

20           A.      I recall -- I'm pretty sure it's a

21      procedure.     It would probably be in our book-in

22      procedures.      And it's been like that since I went to

23      work there in '95.

24           Q.      How did you first learn about the incident

25      in your sally port involving Mr. Payne on March




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1       27th, 2020?

2            A.      The best of my recollection -- I'm on call

3       24/7, and so I remember getting a phone call at home

4       when he was in the sally port and they had called

5       the medics.

6            Q.      And who called you?

7            A.      The best of my recollection, it would have

8       probably been Lieutenant French.

9            Q.      And what did Lieutenant French tell you?

10           A.      That we had a person in the sally port

11      they were trying to book in.            They became

12      unresponsive.      Medics were on scene.          And I'm pretty

13      sure he relayed to me that they were doing CPR.

14           Q.      And did you respond to the jail, or --

15           A.      I did not.

16           Q.      You did not?      Okay.

17                   What was the first thing that you did

18      related to the Landon Payne incident after that?

19           A.      I don't recall if I then continued, like,

20      the notifications to the chief deputy and the

21      sheriff.     I don't recall.       That would have been

22      something I may have done is notify them.                I don't

23      recall if Sheriff Harrold was the sheriff then or if

24      it was Sheriff Trapp.         But Sheriff Harrold would

25      have been the chief deputy before he became -- so I




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1       question, some might be ten minutes of that going on

2       and then we have the arresting agency -- so the

3       arresting officer typically doesn't leave until we

4       give them the, "We're good to go."

5            Q.      In Mr. Payne's case you said you reviewed

6       the videos.      Obviously, that basic search occurred

7       in the video?

8            A.      When -- when Mr. Payne was coming in?

9            Q.      Yeah.

10           A.      Yeah.    The difference with that one was

11      COVID was really getting going right then and

12      temperatures were a big thing, so the first step for

13      him was to get his temperature taken as we started

14      the medical clearance.

15                   And so we -- what I just described to you,

16      we moved out to that sally port -- starting, I

17      believe, on that shift was the first time we moved

18      it from inside the jail to the sally port.                Because

19      if someone had COVID symptoms, we didn't want them

20      coming inside the facility because of all the trace

21      tracking, so we moved everything out there.                So if

22      somebody had COVID -- any sort of COVID stuff -- we

23      were working with the courts and everyone to see if

24      we even needed to bring the person in the building.

25      And so that's why that occurred the way it did.                   And




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1       then the temperature was the big thing, in trying to

2       get his temperature taken.

3            Q.      Not referring specifically to Landon

4       Payne's case, but when did the medical clearance

5       protocol process begin?         Meaning, when -- and I

6       don't need a specific date -- but at what point in

7       your career did the jail start requiring a medical

8       clearance?

9            A.      What I just described to you?            It had been

10      after I was a lieutenant, so somewhere in 2017, '18,

11      in there.     It took a little more funding.             We had to

12      manipulate the budget a little bit.              We had to find

13      more money to pay our medical --

14           Q.      But that wasn't a new thing for COVID.                 I

15      know that we're going to get to the COVID, but that

16      had been going on for a few years before 2020?

17           A.      Yes.    Yeah.    And, actually, that made

18      COVID a lot smoother for us having that resource

19      that was already dedicated down there as we made all

20      of our numerous COVID protocol changes.

21           Q.      Those COVID protocol changes that you

22      referred to for the medical clearances that were

23      occurring that night -- and it sounds like that was

24      the first night -- how were those new protocols

25      communicated to the -- not the medical staff yet --




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1       but the deputies that were there that night?                 How

2       would they have learned of those new protocols?

3            A.      We had an ongoing document -- COVID

4       document that we were updating at that point

5       probably daily, and that was getting emailed out to

6       everybody.

7                    I don't know -- I do remember that

8       particular evening only because when we had those

9       debriefs with all the deputies we -- myself, and I

10      know Lieutenant French for sure -- we had met with

11      the swing swift deputies that were going to be

12      working in that book-in area to tell them of the

13      protocol changes of moving out to the sally port.

14      And it was kind of like, Here's what we got.                 This

15      is how we think we should do it.            And then we were

16      going to take feedback over the next couple days to

17      see where we needed to make adjustments.

18                   So I do remember meeting with some of the

19      folks that were working the book-in area on that

20      swing shift with the other lieutenant, and then we

21      had an ongoing document for the whole three years of

22      COVID protocols that would be updated all the time

23      as we kept changing it.

24                   So that one in early March would have

25      been -- it was probably this (indicating) big, and




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                                   1       State of Oregon        )
                                                                  )       ss.
                                   2       County of Lane         )

                                   3

                                   4            I, Sara Fahey Wilson, CSR, a Certified Shorthand

                                   5       Reporter for the State of Oregon, certify that the

                                   6       witness was sworn and the transcript is a true

                                   7       record of the testimony given by the witness; that

                                   8       at said time and place I reported all testimony and

                                   9       other oral proceedings had in the foregoing matter;

                                   10      that the foregoing transcript consisting of 149

                                   11      pages contains a full, true and correct transcript

                                   12      of said proceedings reported by me to the best of my

                                   13      ability on said date.

                                   14           If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17           IN WITNESS WHEREOF, I have set my hand this 15th

                                   18      day of November 2023, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21

                                   22


                                   23      Sara Fahey Wilson, CSR

                                   24      CSR No. 06-0400

                                   25      Expiration Date:       March 31st, 2026




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                UNITED STATES DISTRICT COURT
                     DISTRICT OF OREGON
                       EUGENE DIVISION



                             )
ANZHELIA PAYNE, personal     )
representative to the estate )
of LANDON PAYNE,             )
                             )
      Plaintiff,             )
                             )
     v.                      )No. 6:22-CV-00471-MC
                             )
JAIRO SOLORIO, individual,   )
ANDREW ROBERTS, an           )
individual, JACOB THOMAS, an )
individual, ROBERT GRIESEL, )
an individual, JUSTIN WILSON,)
an individual, KIMBERLY      )
FULTON, an individual, EMMA )
EDWARDS, an individual,      )
COLTER GAWITH, an individual,)
NATHAN GENT, an individual, )
                             )
      Defendants.            )
____________________________ )


            DEPOSITION OF DEPUTY CONNER SANTINI

                        October 23rd, 2023

                               Monday

                              2:02 P.M.



           THE DEPOSITION OF DEPUTY CONNER SANTINI was

taken at Hutchinson Cox Attorneys, 940 Willamette

Street, Suite 440, Eugene, Oregon, before Deborah M.

Bonds, CSR, CCR, RPR, Certified Shorthand Reporter

in and for the State of Oregon and Washington.




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1    was just yelling and unable to communicate.

2         Q.      And then what did you do after that?

3         A.      So then at that time, I attempt contact

4    with Mr. Payne to see if we can't answer any of

5    those questions and maybe obtain a little bit more

6    information prior to proceeding.

7                 And I had a -- I think probably a similar

8    conversation where there was never any real dialogue

9    established with Mr. Payne and none of those

10   questions were really answered prior to bringing him

11   out of the car.

12        Q.      Okay.       So after you spoke with Mr. Payne

13   and Mr. Payne didn't really answer your questions,

14   what happened next?

15        A.      I think there was some more discussion

16   between the sergeant and the arresting officer.

17   There may have been additional EPD personnel there

18   at that point.          And I think that conversation

19   revolved around whether or not Mr. Payne should come

20   into the jail, one, due to the new COVID policies

21   and his out-of-county warrant and current charges,

22   whether or not we would be able to accept him from

23   that standpoint and also due to his current

24   condition, level of compliance -- whether it was

25   right to bring him into the jail and -- or if he




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1         A.      I think -- as we went out, the expectation

2    was that Deputy Baeuerlen would take a primary or

3    lead position when communicating with Landon Payne

4    initially, and then kind of reporting back to the

5    group as far as a plan of action to get him inside

6    the jail safely.

7                 And then obviously there is a group out

8    there, and amongst the group, there was a sergeant.

9    So if the sergeant had, you know, something that

10   needed to happen or, you know, any input, we would

11   divert to him or if another deputy were to have an

12   idea or plan, then they could also chime in.

13                But, initially, Deputy Baeuerlen, who I

14   was the FTO of, I think is what you're looking for.

15        Q.      And that's why Deputy Baeuerlen had the

16   body cam?

17        A.      Correct.

18        Q.      Okay.      So at the beginning, Deputy

19   Baeuerlen was sort of leading the effort to get

20   Landon Payne booked in; correct?

21        A.      Yes.

22        Q.      And then once Landon Payne was not

23   responsive to Deputy Baeuerlen's questions, he,

24   Deputy Baeuerlen told you that; correct?

25        A.      Correct.




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1    were words communicated to indicate that he was

2    struggling versus flailing, then that could be taken

3    into consideration.

4         Q.      At any point in time did you perceive

5    Landon Payne to be struggling to breathe?

6         A.      No.     Not until we realized that he was

7    unresponsive, then obviously he was not breathing.

8         Q.      Did the flailing, as you've described it,

9    occur shortly before Landon Payne became

10   unresponsive?

11        A.      Yes.

12        Q.      Okay.      Let's look at paragraph 3.

13                Do you see where it says (as read):

14       I assisted with maintaining control of his

15       upper body by placing my right knee on the

16       back of his right arm below the shoulder

17       ensuring excessive pressure wasn't placed on

18       his upper body.

19        A.      I see that.

20        Q.      What did that mean?

21        A.      So backing up to how we were describing

22   him moving the different parts of his body in

23   different directions -- not necessarily at any

24   particular individual or myself -- we wanted to make

25   sure that he was under control, one, so he couldn't




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1    take, you know, action to hurt others and also

2    himself.

3                 So that would include placing pressure on

4    some of those appendages to control his body, and

5    that kind of starts with controlling his larger

6    appendages and legs and then arms, and then also his

7    head so he didn't hit his head on the ground so --

8    go ahead.

9         Q.      Are you finished?

10        A.      Yeah.

11        Q.      So you said "below the shoulder."               Where

12   is that on Landon Payne's body?

13        A.      In his tricep area.

14        Q.      And at the time Landon Payne was still

15   handcuffed behind his back?

16        A.      Correct.

17        Q.      When you placed your knee on Landon

18   Payne's tricep while he was handcuffed behind his

19   back, did that place pressure on Landon Payne's

20   upper torso?

21        A.      It may have, and that was kind of an

22   ongoing observation for, I think, all involved and I

23   think someone had pointed that out, and it was

24   immediately moved if -- when I realized that there

25   could have been excessive or additional pressure




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1         A.      I believe so.

2         Q.      How long was it in that position?

3         A.      I don't know.       A couple seconds.         Like I

4    said, I remember orienting myself and positioning

5    myself amongst the others as we went to the ground,

6    and then quickly thereafter someone pointing that

7    out because that was -- that was an ongoing, you

8    know, discussion and concern at the time in light

9    of, say, the George Floyd incident.              So that was

10   something we were all hypervigilant about and wanted

11   to make sure that, you know, we didn't repeat or,

12   you know, make the same mistake.

13        Q.      So the George Floyd incident, was that

14   before or after the Landon Payne situation?

15        A.      I believe it was before.

16        Q.      Okay.      So where was your knee before you

17   placed it on Landon Payne's right tricep?

18        A.      I think I was in a crouched position since

19   we're all kind of lowering to his level.                 So my

20   weight would be on the balls of my feet and I was

21   crouched.

22        Q.      Before you moved your knee to the --

23   Landon Payne's right tricep, where was it?

24        A.      Probably hovering above his tricep on that

25   same side.




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                                   1    STATE OF OREGON            )

                                   2                               )    ss.

                                   3    County of Lane             )

                                   4

                                   5           I, Deborah M. Bonds, CSR-RPR, a Certified

                                   6    Shorthand Reporter for the State of Oregon and

                                   7    Washington, certify that the witness was sworn and

                                   8    the transcript is a true record of the testimony

                                   9    given by the witness; that at said time and place I

                                   10   reported all testimony and other oral proceedings in

                                   11   the foregoing matter; that the foregoing transcript

                                   12   consisting of 111 pages contains a full, true and

                                   13   correct transcript of the proceedings reported by me

                                   14   to the best of my ability on said date.

                                   15          If any of the parties or the witness requested

                                   16   review of the transcript at the time of the

                                   17   proceedings, correction pages have been inserted.

                                   18          IN WITNESS WHEREOF, I have set my hand and CSR

                                   19   seal this 7th day of November 2023, in the City of

                                   20   Eugene, County of Lane, State of Oregon.

                                   21

                                   22


                                   23   Deborah M. Bonds, CSR, CCR, RPR

                                   24   Oregon CSR No. 01-0374, Expires September 30, 2026

                                   25   Washington CCR No. 21014344, Expires May 5, 2024




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                  MEMORANDUM
           LANE COUNTY SHERIFF'S OFFICE
              CORRECTIONS DIVISION


TO: Sgt L. Jester #366
FROM: Deputy J. Wilson #368
DATE: 3/27/20
SUBJECT: Landon Payne in custody medical emergency

          On 03/27/2020 at approximately 2306 I entered the sally port with other staff to
assist with a combative arrestee from EPD. Landon Payne inmate #3915787 was in the
back of the patrol car and was brought in for resisting arrest and out-of-county warrants.
DS Santini contacted Payne from the front seat of the patrol car and the decision was
made to assist Payne out of the vehicle. Payne was assisted out of the passenger side and
I opened the driver side rear door to provide Taser Coverage. Once out of the vehicle,
Payne was assisted to the ground into the prone position while staff applied leg irons.
Payne was yelling and screaming and was very animated. Payne was not fighting staff
but was physically resistive by attempting to twist his body and pull away from staff
control.
         The decision was made to conduct the preliminary pat search while Payne was
still on the ground. Staff was holding Payne down by his legs and arms, but were not
applying any pressure to his torso. Payne slowly started to calm down while the pat
search was being conducted and within a few seconds, Payne became unresponsive. I told
staff to roll Payne onto his side so I could check on him. Payne slowly started to turn blue
around his mouth and was not responding to verbal or physical stimuli. Staff rolled Payne
onto his back where medical staff checked for a pulse. Medical was not able to feel a
pulse and could not see any visible signs of breathing. Staff immediately started chest
compressions and a Code-3 for assistance was called by central control. Once the medical
crash cart arrived, an AED was applied and staff continued compressions.
         I kneeled at Payne's head and assisted the nurse in assembling the oxygen bottle,
applying the bag valve mask, and performing a head-tilt chin-lift to position Payne's head
while the nurse administered rescue breaths via the bag-valve mask. I also made sure that
other deputies were switching out between cycles of compressions to stay fresh and
provide effective CPR.
         After several rounds of CPR, Paramedics arrived and took over patient care.
Ultimately, Paramedics were able to get a heart rhythm and transported Payne via
ambulance.




                                        Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
                                                                       Lane County's Response to RFP 4
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                           MEMORANDUM
                    LANE COUNTY SHERIFF'S OFFICE
                       CORRECTIONS DIVISION


TO:            Sergeant Jester
FROM:          Deputy Fulton #432
DATE:           3/27/2020
SUBJECT:       Payne, Landon


        On 3/27 /2020, around 2300 hour I was assigned as the Facility Support Deputy in
the Lane County Adult Corrections Facility. I was informed that Eugene Police
Department (EPD) was bringing in an uncooperative male. When EPD arrived one of the
present deputies attempted to ask Payne, Landon #3915787 the initial booking questions.

         Due to Payne's behavior and level ofresistance the decision was made to place
him on the ground, so we could apply leg irons and medical could evaluate him. We took
Payne out of the patrol car and placed him on his stomach. Payne was still in handcuffs,
but due to his resistance the decision was made to apply more restraints so medical could
take his temperature. Payne was resistive during this process, and started to thrash around
fairly violently. I placed my left knee on his right arm near the shoulder and used my left
hand to hold his head against the ground. I attempted to talk to Payne about if, or how
many drugs he had ingested recently. Payne was not able to communicate very well and
was yelling mostly random noises.

        While trying to speak to Payne I noticed he suddenly stopped yelling and
thrashing around. I was trying to get a response out of him when I realized that he may
have stopped breathing. I made a comment stating that I thought Payne wasn't breathing,
and we rolled him on his right side. Another present Deputy performed a sternum mb in a
further attempt to gain response from Payne.

        The sternum mb was unsuccessful in gaining a response, so Payne was rolled to
onto his back. D.S. Gent #346 began chest compressions on Payne. I was directly to
Gent's right side and informed D.S. Gent that I was ready to take over chest
compressions when he became fatigued. Sometime during this a Code-3 was called and
medical was advised to bring a crash cart to our location. I switch out with D.S. Gent and
took over chest compressions.




                                       Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
                                                                      Lane County's Response to RFP 4
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        While I was performing chest compressions an automated external defibrillator
(AED) was prepared for use. I stopped chest compressions while the AED pads were
placed on Payne, and the AED ran diagnostic tests on Payne. The AED recommended
that a shock was not necessary, so I continued chest compressions nntil the AED was
ready to conduct another read. Eventually I switch out with another Deputy who was
across from me, and they conducted chest compressions. When they became fatigued I
took back over. At this point the EMTs alTived and began to take over the scene.

         Once the EMTs were setup, one of them located themselves across Payne's torso
from me. As I became fatigued the Fireman took over chest compressions, and that was
the last contact I had with Payne. The EMTs worked on Payne, and eventually said that
he had a pulse. Shortly after that they put Payne into the ambulance and left with him.




                                      Exhibit 11               Payne v. Solario et al, 6:22-cv-00471-MC
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                  MEMORANDUM
           LANE COUNTY SHERIFF'S OFFICE
              CORRECTIONS DIVISION

TO:            SGT. Jester
FROM:          DS Santini
DATE:          03/28/2020
SUBJECT        Landon Payne's Medical Incident in Secure Parking


On 03/27/2020 at approximately 2300 hours while assigned to the Booking post of Lane
County Adult Corrections, I was advised by Records that Eugene Police was on their way
with a combative male. The male was identified as Landon Payne (inmate ID: 3915787.)
Upon gathering in secure parking, the arresting officer advised that Payne had resisted
arrest resulting in a TASER deployment. 1 had my trainee, DS Baeuerlen take lead and
ask initial assessment questions. Payne could be heard yelling in the back of the patrol
vehicle while DS Baeuerlen attempted the assessment. DS Baeuerlen advised support
deputies that Payne was unable to answer any assessment questions and that he was only
yelling. I attempted to contact Payne in the back of the patrol vehicle and found that he
was unable to communicate verbally as he only continued to yell incoherently.

Due to Payne's inability to communicate his level of compliance and knowing that he had
resisted arrest, it was decided that Payne would be removed from the vehicle and assisted
to a prone position on the ground while still in handcuffs. I secured Payne's right arm
while another deputy controlled his left arm and assisted him out of the vehicle. Payne
dropped his weight backwards and he was assisted to a seated position before laying him
on his front. I maintained control of Payne's right arm and his head to ensure he would
not hit it on the ground.

While on the ground Payne continued yelling and began to flail his body. I assisted with
maintaining control of his upper body by placing my right knee on the back of his right
arm below the shoulder; ensuring excessive pressure wasn't placed on his upper body. I
continued to tell Payne to "take a deep breath" and to try to relax. Deputies began a pat
search on the ground as leg irons were applied as medical took his temperature.

 Payne's yelling suddenly ceased and began to turn blue in the face as he became
unresponsive. Payne was quickly rolled to his back and I attempted a sternum rub to get a
physical reaction. Neither medical staff nor other deputies could feel a pulse on Payne so
chest compressions were started. As other deputies were performing compressions, I
attempted to provide a clear airway by tilting Payne's head back and lifting his chin. I
relieved DS Fulton to do compressions when medical decided to connect Payne to an
automated external defibrillator. All staff stood clear while the AED was connected and
when it advised that no shock was required, deputies continued compressions. This




                                       Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
                                                                      Lane County's Response to RFP 4
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continued until EMS arrived and relieved jail staff. To clear the area, other deputies and I
were instructed to return inside the facility. I returned to the building and my contact with
Payne ended.




                                        Exhibit 11                 Payne v. Solario et al, 6:22-cv-00471-MC
                                                                        Lane County's Response to RFP 4
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                             MEMORANDUM
                LANE COUNTY SHERIFF'S OFFICE
                    CORRECTIONS DIVISION


TO:             SGT. Jester
FROM:           DS Gent#346
DATE:           3/28/20
SUBJECT:        Payne, Landon Medical Incident



On 3/27/20 at approximately at 2300 while working the post of South Annex 1 I was advised that
EPD was in route with a disorderly male. When in booking I learned that the disorderly subject was
Payne, Landon (AIRS#39 l 5787). EPD arrived in secure parking. The arresting officer stated that
Payne had been Tased and was arrested on a warrant and resisting arrest. Payne was contacted
through the partition but did not answer any of the Deputy's questions and was yelling incoherently.

The rear door was opened and I unbuckled the seat belt on Payne. Payne was screaming and
attempted to move away from me in the patrol car. I reached in and took control of his right arm.
Payne was not complying and would not get out of the car. I was able to guide him closer to the door
where I grabbed ahold of his pant leg in order to lift his feet out of the car. Once out of the car I
controlled Payne's left arm and attempted to guide him to ground. Payne was resistive and h·ied to
drop his weight by going to a seated position. Payne was controlled to the ground then rolled on to
his stomach. Payne was tensing his entire body and yelling. He began to force his legs up into staff. I
placed my knee over his calf in order to conh·ol his left leg while leg irons were being applied. Payne
continued to resist and attempted to raise his legs with enough force that he was lifting my body.

Payne stopped resisting and yelling and went limp. At this time staff checked for a pulse and could
not feel one. Payne was rolled to his back. I could see what appeared to be urine on the ground. I
could not see any rise and fall on his chest. After staff could not feel a pulse I began chest
compressions on Payne. I could see an unknown liquid coming from Payne's mouth. His lips and
hands appeared blue in color. I continued to do chest compressions until becoming fatigued and was
relieved by another Deputy. Medical staff arrived with an Automated External Defibrillator (AED). I
removed the AED from the cart and placed the pads on Payne's chest once his shirt was cut off. The
AED advised that no shock was needed. Staff continued chest compressions then AED reevaluated
and again advised against a shock. EMS arrived and took over care for Payne ending my
involvement with Payne.




                                             Exhibit 11                 Payne v. Solario et al, 6:22-cv-00471-MC
                                                                             Lane County's Response to RFP 4
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                 MEMORANDUM
          LANE COUNTY SHERIFF'S OFFICE
             CORRECTIONS DIVISION

TO:           Sgt. Jester
FROM:         DS Baeuerlen #338
DATE:         3/28/20
SUBJECT:      Medical Emergency

On 3/28/20 at approximately 2310 hours, while working in booking, I took lead on a
combative subject brought in by EPD.

I began with asking Landon Payne (arrestee) some booking questions which he was not
responding to. He continued to yell. I let my fellow deputies know I was not able to
communicate with him so we could formulate a plan to get him out of the vehicle.

When we took him out of the vehicle, he was actively resisting while he continued
yelling. We laid him on the ground and turned him on his stomach to place leg irons on
him. I kept my hand on his arms to help control him.

While placing leg irons on him, Payne relaxed and stopped yelling. DS Fulton noticed
Payne becoming non responsive and turning "blue." We turned Payne over onto his
back. We checked for a pulse and breathing, which we could not determine. Fulton
began CPR and chest compression. I helped taking turns with compressions until EMS
arrived.




                                      Exhibit 11               Payne v. Solario et al, 6:22-cv-00471-MC
                                                                    Lane County's Response to RFP 4
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                  MEMORANDUM
           LANE COUNTY SHERIFF'S OFFICE
              CORRECTIONS DIVISION

TO: Sergeant Jester
FROM: Deputy Edwards #435/#58505
DATE: 3/28/20
SUBJECT: Payne, Landon


On 3/27/20 at approximately 2305 I was informed the Eugene Police Department was
bringing in a combative with the name Payne, Landon. We were informed the Payne had
been tased and was very uncooperative with the arresting officers.

Eugene police arrived and stopped in front of our booking slider. I could hear Payne
screaming hysterically from inside the patrol car. Payne was sweating profusely and his
eyes were opened so wide. Due to current policy pertaining to the Covid-19 virus,
medical staff is supposed to get a temperature on any incoming arrestees to make sure
they do not have a fever. Deputies made contact with Payne at approximately 2310, who
was continuing to scream. The door was opened and it took a few seconds to get Payne to
get out of the car. Payne was standing but still very tense, screaming and trying to pull
away from Deputies. Payne began to drop his weight and Deputies assisted him to the
ground. Payne was on his stomach pushing back on Deputies with extreme strength. Leg
irons were placed on Payne and his shoes were removed. Payne was still screaming
despite our best efforts to calm him. Payne began to get quiet but was still pushing back
leading us to believe that he was calming down.

Deputy Fulton and I soon observed that Payne was not responding. Payne was not
breathing and was rapidly turning blue. Payne was rolled on to his right side and I could
not feel a pulse. A medical code was called requesting a crash cart and Paramedics.
Payne was rolled on his back and we began compressions. Deputies took turns so we
could continue to provide quality compressions. I retrieved a pair of scissors and Payne's
shirt was cut off so AED pads could be properly placed. After a few rounds of
compressions Payne showed signs the he was beginning to respond. That lasted about 15
seconds before I could no longer feel a pulse and Payne was blue again. Handcuffs and
leg irons were removed. Compressions resumed. The AED determined that no shock was
advised so we continued compressions. Deputies continued to perform lifesaving efforts
for approximately 10-15 minutes until Paramedics arrived on scene. Paramedics took
over compressions and after some time were able to get a pulse back and transport Payne
to the hospital.




                                       Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
                                                                      Lane County's Response to RFP 4
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                  MEMORANDUM
           LANE COUNTY SHERIFF'S OFFICE
              CORRECTIONS DIVISION


TO: Sergeant Jester
FROM: Deputy Gawith
DATE: 03/28/2020
SUBJECT: Landon Payne's medical incident in secure parking




        On 03/27/2020 I was assigned to the East Annex. At approximately 2250 hrs
Central Control called and notified me that there was a combative male ten minutes out. I
responded to Book In and waited for their arrival. When Eugene Police arrived with
Landon Payne (the combative male), support Deputies walked out the secure parking.
        Once I was in secure parking, I could hear Payne screaming very loudly. One of
the deputies got a briefing from the arresting officer and then started to ask Payne
question. From what I could hear Payne did not answer any of the medical question, yet
only screamed at Deputies. Deputies Santini and Baeuerlen briefed the rest of the
Deputies of Payne's behavior. Deputies opened the door and brought Payne out of the car
and I closed the door. After the car door was closed I went right to helping control
Payne's feet. Payne was screaming and flailing his entire body.
        I helped apply leg irons onto Payne's ankles, checking for fit, and double locking
them. Payne continued to fight against Deputies while medical tried to get his
temperature. Shortly after the leg irons were applied, Payne suddenly stopped moving
and fighting against Deputies. Payne was rolled onto his back and at this time I could see
he was blue in the face. Deputy Gent started CPR and Sergeant Jester called a medical
code.
        Once the medical crash cart arrived, I saw Deputy Gent apply the AED. Deputies
rotated giving chest compressions until EMT's arrived. Once EMT arrived, they fully
took over and Deputies stood by giving any information they needed. Payne was then
loaded in the ambulance and left at 2335hrs.




                                       Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
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                            MEMORANDUM
                    LANE COUNTY SHERIFF'S OFFICE
                     ADULT CORRECTIONS DIVISION


TO:            LT French
FROM:          SGT Jester
SUBJECT:       Medical Emergency: Payne, Landon #3915787



        On 03/27120 at approximately 2300 hrs. we received a call that Eugene Police
were bringing in a combative arrestee. The charges were an out of county warrant and
resisting arrest. Records contacted the county the warrant was from and they chose to
give a court date instead of holding for transport.

        EPD arrived and reported that Payne had been Tased and has been yelling and
screaming since they arrested him. Due to the warrant being cleared prior I asked if they
wanted to CLC on the resisting charge. The arresting officer declined saying that they
would just have to deal with him again. LCSO staff attempted to contact Payne in the
back of the patrol car but he would not communicate with us. Payne appeared to be under
the influence of some sort of intoxicant. Payne was helped from the car and assisted to
the ground in the prone position. Payne was yelling and making grunting noises the
whole time. Once on the ground staff applied Leg Irons while medical took his
temperature as part of their Covid-19 protocols. Payne was jerking his whole body so
staff held his aims and legs down to try to keep him as still as possible. Payne continued
to make grunting noises. I positioned myself by his head and tried to talk with him. I was
trying to get Payne to cooperate so medical could finish their evaluation to see if we
could accept him into our custody. Payne would not respond verbally and would only
grunt and make noises. Payne's breathing was labored and I checked to make sure staff
was not applying any pressure on his upper torso that would impede his breathing. Staff
were only holding his arms and legs down and no one was on his upper torso. Payne
suddenly went quiet and his breathing slowed and then appeared to stop. Payne was
turned onto his side and we attempted get him to respond. Payne was still unresponsive
so he was turned onto his back to better assess him. Staff could not find a pulse and
immediately started life saving efforts. Medical staff responded with the AED and
oxygen. The AED was hooked up and did not advise a shock. CPR was continued by
staff until EMS arrived and took over.

        I asked EPD if they would CLC now due to the fact Payne was going to the
hospital and they would not have to deal with him again tonight. Payne was transported
by EMS after they were able to establish a heart rhythm.




                                       Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
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                  MEMORANDUM
           LANE COUNTY SHERIFF'S OFFICE
              CORRECTIONS DIVISION

TO: Sergeant Jester
FROM: Deputy Foley
DATE: 4/9/2020
SUBJECT: Landon Payne's medical incident in secure parking.


         On 3/2712020 I was assigned to 3 South. At approximately 2250 hours Central
Control called and notified me about a combative male about 10 minutes out. Eugene
police arrived with Payne, Landon in secure parking. Deputies entered secure parking to
hear Payne yelling. Deputy Baeuerlen and Deputy Santini attempt to speak to Payne. It
was reported that Payne was just yelling and did not answer the initial booking/medical
questions. Deputies opened the patrol car door to escort Payne out of the car and into the
facility. Deputies assisted Payne out of the car and onto the ground to gain control of him
and place feg irons on. I grabbed Payne's arm for about a second but other deputies were
in a better position to assist. Payne was placed on his backside and then rolled onto his
stomach. I grabbed the shoes from DS Gawith and placed them by the vestibule to bring
them into the building. I observed Payne continuing to move his arms and legs while
deputies held him down. Payne then stopped moving and shortly after this I saw Payne
being rolled back to his back. I saw Payne was starting to tum blue in color. Deputy Gent
started CPR and Sergeant Jester call a medical code and request the crash cart and an
ambulance. Payne started to gain some of his color back. Once medical showed up with
the crash cart the AED was applied to Payne's chest. The AED did not advise a shock.
Deputies continued chest compressions until EMT's arrived; The EMT's took over the
incident after being on scene. I took Payne's shoes and paperwork and placed it into a
property bag and handed it the EMT's. At this time Sergeant Jester stated if you are not
actively helping you can leave, at this time I left the scene.




                                       Exhibit 11                 Payne v. Solario et al, 6:22-cv-00471-MC
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                  MEMORANDUM
           LANE COUNTY SHERIFF'S OFFICE
              CORRECTIONS DIVISION

TO:           Sgt Jester
FROM:         DS Fisher #460
DATE:         04/09/20
SUBJECT:      Medical Incident in Sally Port

On 03/27120 at approximately 2310 hours I was called to booking for a combative
arrestee being brought in EPD. EPD arrived with an arrestee by the name of Payne,
Landon. A booking deputy took lead and spoke with the A/O to hear charges. Payne was
severely agitated in the backseat of the patrol vehicle. The booking deputy contacted
Payne through the partition of the patrol vehicle. Payne was incoherent with the booking
assessment questions. Payne was making nonsensical words, more like animalistic noises
and grunts as he rocked back and forth in his restraints. The decision was made to remove
Payne from the patrol vehicle. Support Deputies each grabbed an arm to control Payne as
he was assisted to the prone position so leg restraints could be applied. As the leg
restraints were being applied medical attempted to assess Payne. Payne was being asked
ifhe had taken any illegal drugs that evening. Payne was continuing to move his arms
and legs. Deputies were holding Payne to prevent him from breaking control. Payne was
moved to the supine position. CPR was initiated by Deputies. A code three medical
response was initiated by staff. After a brief delay I was instructed by Sgt Jester #366 to
retrieve the crash cart from medical. Upon my arrival in booking the crash cart was being
brought through booking by medical staff. At approximately 2335 hours I left the Sally
Port to be relieved of duty for the shift. My involvement during the entire incident was
that of a bystander.




                                                Respectfully,
                                                Stephen Fisher




                                       Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
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                  MEMORANDUM
           LANE COUNTY SHERIFF'S OFFICE
              CORRECTIONS DIVISION

TO:            Sgt. Jester
FROM:          DS Fifer
DATE:          03/27/2020
SUBJECT:       Medical Incident


On 03/27/2020 at 2306 hours, EPD arrived in secure parking with Payne, Landon
#3915787. Staff assembled in secure parking where we were briefed by the A/O that
Payne had been arrested for a warrant and resisting arrest. The A/O further advised us
that Payne had resisted arrest which resulted in a TASER exposure. I observed Payne
through the patrol vehicle rear partition. Payne appeared to be under the influence of
some type of drug. Payne was screaming and was unable to communicate with staff.

Payne was assisted out of the patrol vehicle by other staff members and placed on the
ground in order for medical staff to get a body temperature reading. Payne was placed on
his stomach in the prone position. RN Standing was able to get a body temperature
reading on Payne.

Staff began a pat-search while Payne was on the ground. I placed my left knee on the
back of Payne's left arm in order to control his movements. Payne appeared to stop
breathing and lost consciousness a short time later. Payne was rolled onto his back in
order for medical staff to evaluate Payne. Payne had stopped breathing and had no pulse.
CPR was started at about 2314 hours and a code-3 was initiated. I assisted with
removing the handcuffs from Payne. Eugene Fire arrived a short time later and took over
medical care for Payne. Payne was transported by Eugene Fire at about 23 31 hours.




                                      Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
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                            MEMORANDUM
                    LANE COUNTY SHERIFF'S OFFICE
                     ADULT CORRECTIONS DIVISION


TO: Sgt. L. Jester
FROM: W. McClure
DATE: 04/08/2020
SUBJECT: Landon Payne

         On 3/27 /2020 at approximately 2300 hrs. I was called up to Booking to assist with
an uncooperative arrestee, Landon Payne. While it was being decided if Payne was going
to be accepted into custody of Lane County Adult Corrections I could hear Payne making
a lot of noise from the back of a Eugene Police Department vehicle and he was causing
the vehicle to rock back a forth. Once it was decided to get Payne out of the car he was
assisted to the ground by deputies. Payne was fighting against this and screaming. Once
on the ground I assisted in placing ankle chains on his left foot and removed his shoes
and socks to search them. This task was difficult due to the amount of resistance from
Payne. At this time Payne stopped thrashing about. A deputy called out that Payne was
not breathing. Payne was rolled over and checked for breathing and a pulse. A code 3
was activated requesting a crash cart and code 3 medics. CPR was begun and I waited
for my tum on chest compressions. I never got the chance as medics arrived and I was
told to go back to my post as there were plenty of people helping.



William McClure #364




                                       Exhibit 11                Payne v. Solario et al, 6:22-cv-00471-MC
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             IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                           EUGENE DIVISION



   ANZHELIA PAYNE, personal                 )

   representative to the estate             )

   of LANDON PAYNE,                         )

                 Plaintiff,                 )

        v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                  )

                 Defendants.                )



                  DEPOSITION OF JUSTIN WILSON

                           February 6, 2024

                                Tuesday

                               1:16 P.M.



                THE VIDEO-RECORDED DEPOSITION OF JUSTIN

   WILSON was taken at Hutchinson Cox, 940 Willamette

   Street, Suite 400, Eugene, Oregon 97401, before Sara

   Fahey Wilson, CSR/CCR, Certified Shorthand Reporter

   in and for the State of Oregon and Washington.




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1                    We would normally go from the front seat

2       and talk to the person through the partition of the

3       car if they were called in combative so we could

4       evaluate them.

5                    I talked to the arresting officers.                Asked

6       them what the guy was being arrested for, how he was

7       doing, and what they had done with him.                 Basically,

8       did they fight with him?           Did he resist?        What

9       interventions did they use.              That was pretty common

10      for me to do.

11                   The decision was made to assist Mr. Payne

12      out of the vehicle.         I provided coverage on the

13      opposite side of the vehicle.              It was standard for

14      us that as a deterrent to not try and pull away or

15      try and exit the other side of the vehicle we would

16      open the door and stand on the other side of the

17      vehicle, a lot of times with our Taser at low ready.

18                   So I did that when they opened the door

19      for Mr. Payne.       Other deputies assisted him out of

20      the vehicle and assisted him onto the ground into

21      the prone position.

22                   This was also pretty standard for us where

23      we would conduct our preliminary pat search in this

24      position because it's much easier to control a

25      combative arrestee when they are on the ground.




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1                    Mr. Payne was manic, he was groaning, and

2       moaning, and yelling.          I could not make out any

3       clear words that he was saying.

4                    I saw sort of a -- kind of a slobber

5       coming out of his mouth.           As he was talking he was

6       drooling.

7                    I was -- once they got him out of the car,

8       I was kneeling down next to him talking to him

9       trying to get his attention saying, "Hey, Mr. Payne,

10      can you hear me?        Hey, it's okay.        Take deep

11      breaths.     It's going to be okay," trying to calm him

12      down.

13                   As the time went on I noticed that he was

14      becoming less and less combative, and we were

15      getting our pat search on him, and I believe they

16      applied leg irons to him as well, which was standard

17      in this situation if someone was combative.

18                   After a few seconds, maybe a minute or

19      two, I noticed that he was no longer doing anything,

20      he was just laying there, and so I looked at the

21      sergeant and I said -- I said, "Hey, is he okay?"

22                   I looked at the medical staff.              I said,

23      "Hey, I don't think he's breathing."

24                   We waited a few seconds to try and see

25      what medical staff wanted to do, and she, from what




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1       I remember, went over to Mr. Payne, we rolled him

2       onto his side, and I believe she checked for a pulse

3       on Mr. Payne.

4                    She told us that she wasn't able to find a

5       pulse on him after checking several times, so I told

6       the deputies to roll Mr. Payne onto his back and

7       start chest compressions.

8                    From what I remember, our central control

9       called a medical code three for assistance which got

10      our medical staff to respond with their crash cart,

11      as they called it.

12                   While we were waiting for the medical cart

13      the other deputies were providing chest compressions

14      for Mr. Payne.

15                   We were operating at the direction of our

16      medical staff.       She was telling us what to do.                 I

17      took a position at the head of Mr. Payne and was

18      watching what everyone was doing.              Just because I

19      had been in these emergency medical situations

20      before, I was making sure that the other deputies

21      were swapping out between rotations of chest

22      compressions so that they could stay fresh and

23      provide effective chest compressions.                I was

24      basically just watching what was happening until the

25      medical cart showed up.




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1                    Once the medical cart arrived, the

2       nurse -- one of the nurses obtained an oxygen bottle

3       and a -- what's called a bag valve mask, which is

4       standard in CPR for medical providers -- and I

5       assisted her with assembling the bag valve mask and

6       the oxygen bottle.

7                    And I assisted her in applying what's

8       called a head tilt chin lift maneuver to Mr. Payne,

9       which is where you push the chin of the individual

10      up and push the forehead down which puts their head

11      in into an optimal position for administering the

12      breaths for -- via the bag valve mask.

13                   From there, we -- the other deputies also

14      applied the AED.         They followed the instructions of

15      the AED, and we provided chest compressions and

16      lifesaving measures until the paramedics showed up.

17                   Once the paramedics showed up we gave care

18      to them.     They were -- from what I recall, they were

19      able to find a heart rhythm on Mr. Payne via their

20      monitor that they applied to him.               They loaded him

21      up in the ambulance and took him to the hospital.

22                           MR. LARWICK:      Can we take a quick

23      break?

24                           MR. REED:    Sure.

25                           THE VIDEOGRAPHER:       We'll go off the




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                                   1       State of Oregon         )
                                                                   )       ss.
                                   2       County of Lane          )

                                   3

                                   4            I, Sara Fahey Wilson, CSR, a Certified Shorthand

                                   5       Reporter for the State of Oregon, certify that the

                                   6       witness was sworn and the transcript is a true

                                   7       record of the testimony given by the witness; that

                                   8       at said time and place I reported all testimony and

                                   9       other oral proceedings had in the foregoing matter;

                                   10      that the foregoing transcript consisting of 44 pages

                                   11      contains a full, true and correct transcript of said

                                   12      proceedings reported by me to the best of my ability

                                   13      on said date.

                                   14           If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17           IN WITNESS WHEREOF, I have set my hand this 14th

                                   18      day of February 2024, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21

                                   22


                                   23      Sara Fahey Wilson, CSR

                                   24      CSR No. 06-0400

                                   25      Expiration Date:        March 31st, 2026




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             IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                           EUGENE DIVISION



   ANZHELIA PAYNE, personal                 )

   representative to the estate             )

   of LANDON PAYNE,                         )

                 Plaintiff,                 )

        v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                  )

                 Defendants.                )



                 DEPOSITION OF ZACHERY FULTON

                          February 19, 2024

                                 Monday

                               1:04 P.M.



                THE VIDEO-RECORDED DEPOSITION OF ZACHERY

   FULTON was taken at Hutchinson Cox, 940 Willamette

   Street, Suite 400, Eugene, Oregon 97401, before Sara

   Fahey Wilson, CSR/CCR, Certified Shorthand Reporter

   in and for the State of Oregon and Washington.




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1            Q.      Okay.      Just making sure.

2                    So now let's skip to 161, please.               I

3       wanted to see if you can find where you are on 161?

4            A.      Yes.

5            Q.      Are you able to tell?

6            A.      I am.

7            Q.      How would you describe your location?

8            A.      Where there's the group of deputies, there

9       is the shorter, bald deputy wearing the patrol vest.

10           Q.      Is that Fisher?

11           A.      That would be Deputy Fisher, yes.

12           Q.      Okay.

13           A.      And I'm just on the other side of him,

14      kind of 6:00 o'clock in the group.

15           Q.      Okay.

16                   And so what do you think you're doing

17      right now in that scene?

18           A.      At that time it appears that we are

19      placing Payne on the ground.

20           Q.      So you're involved in sort of supporting

21      his weight while you lower him to the ground?

22           A.      Yes.

23                           (Deposition Exhibit 162

24                            marked for identification.)

25      BY MR. LARWICK:




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                                   1       State of Oregon         )
                                                                   )       ss.
                                   2       County of Lane          )

                                   3

                                   4            I, Sara Fahey Wilson, CSR, a Certified Shorthand

                                   5       Reporter for the State of Oregon, certify that the

                                   6       witness was sworn and the transcript is a true

                                   7       record of the testimony given by the witness; that

                                   8       at said time and place I reported all testimony and

                                   9       other oral proceedings had in the foregoing matter;

                                   10      that the foregoing transcript consisting of 47 pages

                                   11      contains a full, true and correct transcript of said

                                   12      proceedings reported by me to the best of my ability

                                   13      on said date.

                                   14           If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17           IN WITNESS WHEREOF, I have set my hand this 4th

                                   18      day of March 2024, in the City of Eugene, County of

                                   19      Lane, State of Oregon.

                                   20

                                   21

                                   22


                                   23      Sara Fahey Wilson, CSR

                                   24      CSR No. 06-0400

                                   25      Expiration Date:        March 31st, 2026




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                                                                                                       Exhibit 14
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             IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                           EUGENE DIVISION



   ANZHELIA PAYNE, personal                 )

   representative to the estate             )

   of LANDON PAYNE,                         )

                 Plaintiff,                 )

        v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                  )

                 Defendants.                )



                  DEPOSITION OF EMMA GROTEFUND

                           October 11, 2023

                               Wednesday

                               12:00 P.M.



                THE VIDEO-RECORDED DEPOSITION OF EMMA

   GROTEFUND was taken at Hutchinson Cox, 940

   Willamette Street, Suite 400, Eugene, Oregon, 97401,

   before Eleanor G. Knapp, CSR-RPR, Certified

   Shorthand Reporter in and for the State of Oregon.




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1       due to current policies, medical staff is supposed

2       to get a temperature is what you say.

3            A.      Uh-huh.

4            Q.      Does the "supposed to" in this sentence

5       mean that medical staff should have taken Landon

6       Payne's temperature but did not?

7            A.      I don't know if that's how I implied it at

8       the time.     I can tell you I write much more detailed

9       reports right now.         It might just be a general

10      statement, like:        This is the policy.         This is what

11      they were supposed to do.

12           Q.      Do you know when they took --

13           A.      I don't know.       I know they couldn't --

14      like, a lot of the custodies prior to Mr. Payne, if

15      they are being more physically cooperative, we can

16      just roll down the window and they just have one of

17      those little scanny thermometer things and they can

18      just touch to their forehead and get a reading

19      through the car.        I know that was not possible with

20      this scenario.

21           Q.      In your memo, you then describe how Landon

22      Payne was removed from the vehicle by deputies.

23      Where were you during this process?

24           A.      I was -- I wasn't the one getting him out

25      of the car.      I think I was, like, a person or two




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1       back.     Then once he was out, I was by his legs

2       initially.     Yeah.

3            Q.      Was there any discussion beforehand about

4       who will take what role in extracting --

5            A.      There generally is.         I didn't hear them,

6       what they were saying -- or not that I can recall at

7       least.

8                    But generally, it's, like, "Hey, you and

9       me, let's make sure we can control his upper body so

10      he doesn't flail or fall," because a lot of times

11      they do drop their weight.           And with their hands

12      restrained that's -- obviously they can get hurt

13      that way, and we don't want that to happen.

14                   And then it's something if we do need to

15      put them on the ground, then, okay, "And then you

16      can control the legs," if everything goes smooth, of

17      course.     Sometimes people spin around, and it

18      doesn't go as you think it's going to go.

19                   And that's to prevent them from kicking or

20      slamming their knees or anything like that.

21           Q.      But on this occasion, you weren't directed

22      where to position yourself or where to be?

23           A.      I can't remember.

24           Q.      Do you know who made the decision to

25      remove Landon Payne from the vehicle?




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1       of it?

2              A.    There's nothing physical until it needs to

3       be physical.         We'll describe what we need or what's

4       happening.     We don't just do things if there's

5       reasonable time to explain the situation.

6              Q.    I guess more so I'm talking in an effort

7       to calm him there was no physical action done to

8       assure him that, "Hey, we are trying to help you"?

9              A.    I don't think there was anything

10      physically that could be done.

11             Q.    What did you do personally to try to calm

12      him?

13             A.    I don't recall doing anything until I was

14      more towards his head, in which case I was talking

15      to him calmly, "Hey, like, come on," just human

16      conversation.

17             Q.    So at some point you and other deputies

18      get Landon Payne to the ground.             And he's placed

19      facedown on the concrete.            Is that correct?

20             A.    Yes.

21             Q.    From there where are you located when he

22      is placed on the concrete?

23             A.    Initially I think I'm down by his feet,

24      kind of like his knee area.

25             Q.    What was your role there?




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1              A.      That was to help control his legs from

2       kicking.

3              Q.      Did you remove his shoes?

4              A.      I can't remember if I personally removed

5       them.       I think I maybe did and helped pull his socks

6       off.

7              Q.      So is controlling and restraining someone

8       in that fashion something you had trained on before

9       March 27, 2020?

10             A.      Yes.

11             Q.      And so when Landon was -- Landon Payne was

12      placed facedown, his hands were still handcuffed

13      behind his back at the time?

14             A.      Yes.

15             Q.      So moving up to the next paragraph

16      there -- I think it is the last paragraph --

17      you write (as read):          Deputy Fulton and I

18          soon observed that Payne was not responding.

19                     Where were you when you observed him not

20      responding?

21             A.      I think I was kind of in the same area,

22      maybe, like, slightly up towards his hip area.                      But

23      I wasn't, like, at his face at that time.

24             Q.      What were you doing when you noticed?

25             A.      Just watching his face.




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1       It depends if they are in medical at the time or if

2       they have to get there, get the stuff, and then come

3       to you.      It depends where you are at in the jail.

4       Some places are much more accessible than others.

5              Q.     At some point -- you write that at some

6       point you retrieved some scissors to remove Landon

7       Payne's shirt for placements of AED nodes.                 Is that

8       correct?

9              A.     Yes.

10             Q.     Were you the one that cut his shirt off of

11      him?

12             A.     I think I started cutting it, and then we

13      might have had to rip it or something like that.

14             Q.     You don't know -- did someone else finish

15      it or was it just a collective --

16             A.     I think it might have been a collective

17      thing.      I don't recall exactly.

18             Q.     Why did you have to go get scissors?                 Were

19      there not scissors on the crash cart?

20             A.     I remember searching the crash cart for

21      them, but I can't remember if I was able to get them

22      from it or not.        I do remember going through the

23      drawers of it looking for them.

24             Q.     Do you agree that that's probably

25      something that should be included in the crash cart?




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1             Q.     Did you ever provide any compressions to

2       Landon Payne?

3             A.     No.     I think I was next up to, just

4       because you don't want people to get fatigued out.

5       You want quality compressions.              But I don't think I

6       ever did.

7             Q.     So I guess just as a guess, do you know

8       how long the stints people were doing on

9       compressions?

10            A.     It depended on the individual.              They were

11      all really good about knowing when they needed to

12      switch or even if they thought, like, "Hey, I'm

13      still good," someone else would be, like, "No, I'm

14      going to jump in."

15                   We are going to give quality compressions.

16            Q.     So can you walk me through what you did

17      after getting the scissors?

18            A.     We got his shirt off, got the AED on,

19      followed its instructions.            Paramedics were, I

20      believe, on their way already.              We did compressions.

21      We watched his -- you know, watched his face,

22      watched his mouth, watched his color, continually

23      tried to assess him.          Like I said, I don't recall

24      checking his pulse any more after that.

25                   The AED does that.           It monitors the pulse




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                                   1       State of Oregon         )
                                                                   )        ss.
                                   2       County of Lane          )

                                   3

                                   4             I, Eleanor G. Knapp, CSR-RPR, a Certified

                                   5       Shorthand Reporter for the State of Oregon, certify

                                   6       that the witness was sworn and the transcript is a

                                   7       true record of the testimony given by the witness;

                                   8       that at said time and place I reported all testimony

                                   9       and other oral proceedings had in the foregoing

                                   10      matter; that the foregoing transcript consisting of

                                   11      95 pages contains a full, true and correct

                                   12      transcript of said proceedings reported by me to the

                                   13      best of my ability on said date.

                                   14            If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17            IN WITNESS WHEREOF, I have set my hand this 26th

                                   18      day of October 2023, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21


                                   22      Eleanor G. Knapp, CSR-RPR

                                   23      CSR No. 93-0262

                                   24      Expires:     September 30, 2026

                                   25




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              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                            EUGENE DIVISION



   ANZHELIA PAYNE, personal                  )

   representative to the estate              )

   of LANDON PAYNE,                          )

                  Plaintiff,                 )

         v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                   )

                  Defendants.                )



                   DEPOSITION OF COLTER GAWITH

                            October 18, 2023

                                Wednesday

                                2:07 P.M.



                THE VIDEO-RECORDED DEPOSITION OF COLTER

   GAWITH was taken at Hutchinson Cox, 940 Willamette

   Street, Suite 400, Eugene, Oregon, 97401, before

   Sara Fahey Wilson, CSR/CCR, Certified Shorthand

   Reporter in and for the State of Oregon and

   Washington.




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1       prior to your deposition today?

2             A.     Yes, it is.

3             Q.     Okay.

4                    How many deputies were helping place the

5       leg irons on?

6             A.     I believe it was me and possibly two

7       others.

8             Q.     Okay.

9                    And how long did it take to get the leg

10      irons placed properly on Mr. Payne?

11            A.     I do not recall.

12            Q.     Okay.

13                   Once the leg irons were on Mr. Payne, what

14      was the next thing that you did related to

15      Mr. Payne's incident there?

16            A.     I believe I checked them for fit and made

17      sure that they weren't too tight.              And from there, I

18      do not recall.

19            Q.     Okay.

20            A.     I don't believe I did much anything else

21      in regarding touching him.

22            Q.     Okay.

23                   At some point was it determined that --

24      how did you learn that there was a medical problem

25      going on with Mr. Payne?




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1             A.     I believe -- at some point I believe he

2       expelled his bowels, and then someone said, "He's

3       turning blue," is what I remember.

4             Q.     How did you know that he had -- did you

5       say expelled his bowels?

6             A.     Correct.

7             Q.     How did you know that?

8             A.     I believe I could smell it, and then his

9       pants were wet.

10            Q.     Were his pants wet on the front or the

11      back?

12            A.     I don't recall.         Kind of down the middle,

13      I think.

14            Q.     Okay.

15                   So you could smell that he had urinated

16      himself and at -- and somebody told you he was

17      turning blue?

18            A.     I believe I remember hearing that.

19            Q.     Okay.

20                   And did you participate at all in the

21      CPR --

22            A.     No, I did not.

23            Q.     -- of Mr. Payne?

24                   What did you do while that was going?

25            A.     I believe I first removed the leg irons




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1       and then took a step back so that they were able to

2       help him.

3             Q.     At what point did you remove the leg

4       irons?     Had CPR already begun, or did remove them

5       immediately?

6             A.     No.     Once I believe they said he was

7       turning blue and they were going to flip him over, I

8       removed the leg irons.

9             Q.     How did the leg irons work?              Are they like

10      handcuffs?      Do they lock like a handcuff?

11            A.     Correct.

12            Q.     Okay.

13                   So you removed the leg irons.              And then

14      where did you go from there?

15            A.     I do not recall.

16            Q.     Okay.

17                   Did you have any other hands-on contact

18      with Mr. Payne?

19            A.     Not to my recollection.

20            Q.     Okay.

21                   Do you recall any statements that any of

22      the other deputies made during the medical incident

23      with Mr. Payne?

24            A.     Not directly.        Not that I could quote.

25            Q.     Okay.




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                                   1       State of Oregon          )
                                                                    )       ss.
                                   2       County of Lane           )

                                   3

                                   4             I, Sara Fahey Wilson, CSR, a Certified Shorthand

                                   5       Reporter for the State of Oregon, certify that the

                                   6       witness was sworn and the transcript is a true

                                   7       record of the testimony given by the witness; that

                                   8       at said time and place I reported all testimony and

                                   9       other oral proceedings had in the foregoing matter;

                                   10      that the foregoing transcript consisting of 29 pages

                                   11      contains a full, true and correct transcript of said

                                   12      proceedings reported by me to the best of my ability

                                   13      on said date.

                                   14            If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17            IN WITNESS WHEREOF, I have set my hand this 31st

                                   18      day of October 2023, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21

                                   22


                                   23      Sara Fahey Wilson, CSR

                                   24      CSR No. 06-0400

                                   25      Expiration Date:         March 31st, 2026




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              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                            EUGENE DIVISION



   ANZHELIA PAYNE, personal                  )

   representative to the estate              )

   of LANDON PAYNE,                          )

                  Plaintiff,                 )

         v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                   )

                  Defendants.                )



                   DEPOSITION OF STEPHEN FOLEY

                            October 11, 2023

                                Wednesday

                                10:00 A.M.



                THE VIDEO-RECORDED DEPOSITION OF STEPHEN

   FOLEY was taken at Hutchinson Cox, 940 Willamette

   Street, Suite 400, Eugene, Oregon, 97401, before

   Eleanor G. Knapp, CSR-RPR, Certified Shorthand

   Reporter in and for the State of Oregon.




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1       our keys, our radio, our Taser if we have one.                        And

2       then --

3             Q.     So in March of 2020 when you did a shift

4       change, did, like, pretty much the whole staff

5       change at the same time or was it a staggered

6       schedule?

7             A.     It would have been the whole staff.

8             Q.     Is that still true now?

9             A.     For the most part, yes, other than people

10      who are doing overtime.

11            Q.     So fair to say that this Landon Payne

12      incident occurred pretty close to the end of your

13      scheduled shift.

14            A.     Yes.

15            Q.     Is that correct?

16            A.     Yes.

17            Q.     Okay.     What's the first thing that you

18      remember about the Eugene police bringing Landon

19      Payne to the jail?

20            A.     I remember Sergeant Jester talking to the

21      AO.    I do not remember what was said.                I know it had

22      been talked about CLC-ing him or something along

23      that lines.      But it seemed like that was not an

24      option at the time.

25                   And then after that I remember him coming




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1       out of the car.        I grabbed his arm for half a

2       second, but other deputies were in a better

3       position.      I had stepped off.          And then I had no

4       physical contact with him through the rest of it.

5       So I was just observing through the rest of the

6       incident.

7             Q.     When you say AO, are you talking about

8       arresting officer?

9             A.     Arresting officer, yes.

10            Q.     Do you know who the arresting officer was?

11            A.     I do not.

12            Q.     And when you say CLC, do you mean citation

13      in lieu of confinement?

14            A.     Yeah.

15            Q.     Okay.     And what are the parameters for

16      that type of procedure?

17            A.     I am not -- I do not know.

18            Q.     Now, did you actually hear anything that

19      was said by the arresting officer?

20            A.     Not that I remember.

21            Q.     So everything that you described a moment

22      ago about your understanding of what the arresting

23      officer said, that was communicated to you through

24      Jester.     Is that correct?

25            A.     I believe so, yes.




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                                   1       State of Oregon          )
                                                                    )       ss.
                                   2       County of Lane           )

                                   3

                                   4             I, Eleanor G. Knapp, CSR-RPR, a Certified

                                   5       Shorthand Reporter for the State of Oregon, certify

                                   6       that the witness was sworn and the transcript is a

                                   7       true record of the testimony given by the witness;

                                   8       that at said time and place I reported all testimony

                                   9       and other oral proceedings had in the foregoing

                                   10      matter; that the foregoing transcript consisting of

                                   11      68 pages contains a full, true and correct

                                   12      transcript of said proceedings reported by me to the

                                   13      best of my ability on said date.

                                   14            If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17            IN WITNESS WHEREOF, I have set my hand this 25th

                                   18      day of October 2023, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21


                                   22      Eleanor G. Knapp, CSR-RPR

                                   23      CSR No. 93-0262

                                   24      Expires:     September 30, 2026

                                   25




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              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                            EUGENE DIVISION



   ANZHELIA PAYNE, personal                  )

   representative to the estate              )

   of LANDON PAYNE,                          )

                  Plaintiff,                 )

         v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                   )

                  Defendants.                )



                   DEPOSITION OF JEREMY FIFER

                            October 19, 2023

                                 Thursday

                                2:03 P.M.



                THE VIDEO-RECORDED DEPOSITION OF JEREMY

   FIFER was taken at Hutchinson Cox, 940 Willamette

   Street, Suite 400, Eugene, Oregon, 97401, before

   Sara Fahey Wilson, CSR/CCR, Certified Shorthand

   Reporter in and for the State of Oregon and

   Washington.




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1       exactly where I was standing.             It might have been

2       behind the patrol car.

3             Q.     But you weren't -- you weren't one of the

4       two deputies who originally reached in to remove him

5       from the vehicle, it sounds like?

6             A.     No.

7             Q.     Okay.

8                    And so you said you saw there be some

9       struggling.        Did you see Mr. Payne kicking or

10      hitting at anyone?

11            A.     Not that I recall.

12            Q.     Okay.

13                   Did you see him spit or head butt?

14      Anything like that?

15            A.     No.

16            Q.     Okay.

17                   So he wasn't fighting.           Was Mr. Payne able

18      to walk?

19            A.     I don't know if he was or not.               From my

20      view, it looked like he was refusing to walk.

21            Q.     Okay.

22            A.     And that's why I -- that's why they laid

23      him down, was to get control of his legs.

24            Q.     Okay.

25                   But he didn't appear to be actively




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1       fighting, just sort of not engaging in putting his

2       weight on his legs at that point?

3             A.     It appeared that he was pushing with his

4       legs in the opposite direction the deputies were

5       trying to take him.

6             Q.     Okay.

7                    So ultimately he's proned out face down on

8       the concrete.        Correct?

9             A.     Yes.

10            Q.     And where do you move to become involved

11      in part of this process?

12            A.     I believe I was standing on Mr. Payne's

13      right side.

14            Q.     And our -- okay.

15                   And so what was your participation from

16      that point forward in trying to get control of

17      Mr. Payne and the medical emergency?

18            A.     I could see the deputies were struggling

19      to get control of his legs, so then I kneeled down

20      on the top of his right arm and evaluated what the

21      other deputies were doing, basically.

22            Q.     And when you said you kneeled down on the

23      top of his right arm, his arms were still handcuffed

24      behind his back.         Correct?

25            A.     Correct.




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1              Q.    So were you kneeling on his arm which was

2       on his back?

3              A.    No.     It's the tactic I was explaining

4       earlier.     Basically, to control the body you control

5       the limbs, and when you do that -- you're basically

6       placing your knee on the ground between his arm and

7       his body, so there's really not much pressure on the

8       arm.

9              Q.    So your knee wasn't -- you're saying your

10      knee went in-between his body and his arm --

11             A.    Onto the ground.

12             Q.    -- onto the concrete?

13             A.    Yes.

14             Q.    Okay.

15                   And were you closest to the EPD vehicle

16      side of Mr. Payne or were you closest to the

17      pre-book area side of Mr. Payne?

18             A.    The pre-book area.

19             Q.    Okay.

20                   So you would have been on his left-hand

21      side?

22             A.    Oh, yeah.       I guess it would have been his

23      left-hand side.

24             Q.    Okay.

25                   I just want to make sure I have the right




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1       person in our pictures here.

2                    And so in watching -- you watched the

3       sally port video --

4             A.     Yes.

5             Q.     -- prior to -- in watching the sally port

6       video, you sort of came in mid -- already people

7       having Mr. Payne proned out and restrained on the

8       ground.     Would you agree with that?

9             A.     I was there when they put him on the

10      ground.

11            Q.     But you came in a little -- sort of after

12      everyone else to restrain his left side?

13            A.     Yes.

14            Q.     Okay.

15                   Outside -- or after you -- or as you came

16      down to restrain his left side, do you remember

17      hearing, or did you hear and do you know who said,

18      "Can you move your knee down off of his back?"

19            A.     I did.

20            Q.     You said that?

21            A.     Yes.

22            Q.     Who were you speaking to?

23            A.     I don't remember.

24            Q.     Okay.

25                   And why did you say that?




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1             A.     I don't remember who it was.              I don't

2       remember if it was a knee or not.              But I was telling

3       somebody to move their limb onto his -- onto his

4       arm, basically.

5             Q.     So you came in to restrain his left side

6       and realized that there was some restraint going on

7       that probably was not the safest and you gave some

8       instruction to probably -- it was a younger deputy,

9       I would assume?

10            A.     I think so.

11            Q.     -- to remove their body weight from his

12      back onto his limbs?

13            A.     I didn't see the deputy putting much

14      weight on Mr. Payne, but I wanted to make sure that

15      there was nothing on his back.

16            Q.     Okay.

17                   And so -- but you -- you're certain that

18      that was you that gave those instructions?

19            A.     Yes.

20            Q.     Okay.

21                   Do you know which deputy you were speaking

22      to?

23            A.     No.

24            Q.     Okay.

25                   Excuse me.




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1                    Once you had taken over his left arm and

2       people had sort of moved their knees and things to

3       his limbs, how long after that was it until you

4       discovered that Mr. Payne was unconscious?

5                            MS. DENLEY:     Object to the form.

6                            You can still answer.

7              A.    I'm not sure.         It was fairly quick.          I

8       mean, it seemed -- seemed like less than a minute.

9       BY MS. HILLMAN:

10             Q.    And what did you -- what did you do at

11      that point?

12             A.    I don't remember.            I think I asked if he

13      was breathing.

14             Q.    So were you one of the -- his head was

15      sort of turned towards you on that side and you were

16      one of the only deputies on that side.                 Correct?

17             A.    Uh-huh.

18             Q.    Were you one of the first ones, then, to

19      notice that there was something not right?

20             A.    I'm not sure if I was the first one or

21      not.

22             Q.    Okay.      Okay.    Okay.

23                   Did you participate in rolling him onto

24      his side?

25             A.    I don't remember.            I don't think I did.             I




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1       think I just stood up.

2              Q.    Okay.

3                    And then did you participate at all in the

4       CPR?

5              A.    No.

6              Q.    Okay.

7                    Were you ever interviewed as part of a use

8       of force investigation regarding this incident?

9              A.    No.

10             Q.    Have you been asked any -- outside of

11      speaking with your lawyers, has anyone ever asked

12      you any questions about what happened that day until

13      today?

14             A.    No.     I don't think so.

15             Q.    Okay.

16                   After the incident did you debrief with

17      Sergeant Jester?

18             A.    I don't think so.            I don't remember if I

19      did or not.        I don't know if there was a debrief.

20             Q.    Okay.

21                   More recently than that we've heard some

22      testimony that there was a meeting at the Lane

23      County Jail that was led by Chief Deputy Wilkerson.

24      Did you participate in that meeting?

25             A.    Yes.




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                                   1       State of Oregon          )
                                                                    )       ss.
                                   2       County of Lane           )

                                   3

                                   4             I, Sara Fahey Wilson, CSR, a Certified Shorthand

                                   5       Reporter for the State of Oregon, certify that the

                                   6       witness was sworn and the transcript is a true

                                   7       record of the testimony given by the witness; that

                                   8       at said time and place I reported all testimony and

                                   9       other oral proceedings had in the foregoing matter;

                                   10      that the foregoing transcript consisting of 60 pages

                                   11      contains a full, true and correct transcript of said

                                   12      proceedings reported by me to the best of my ability

                                   13      on said date.

                                   14            If any of the parties or the witness requested

                                   15      review of the transcript at the time of the

                                   16      proceedings, such correction pages are attached.

                                   17            IN WITNESS WHEREOF, I have set my hand this 3rd

                                   18      day of November 2023, in the City of Eugene, County

                                   19      of Lane, State of Oregon.

                                   20

                                   21

                                   22


                                   23      Sara Fahey Wilson, CSR

                                   24      CSR No. 06-0400

                                   25      Expiration Date:         March 31st, 2026




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                                                                                                         Exhibit 18
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              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF OREGON

                            EUGENE DIVISION



   ANZHELIA PAYNE, personal                  )

   representative to the estate              )

   of LANDON PAYNE,                          )

                  Plaintiff,                 )

         v.                                  ) No. 6:22-CV00471-MC

   JAIRO SOLORIO, an individual, )

   et al.,                                   )

                  Defendants.                )



                  DEPOSITION OF WILLIAM MCCLURE

                            October 16, 2023

                                  Monday

                                10:53 A.M.



                THE VIDEO-RECORDED DEPOSITION OF WILLIAM

   MCCLURE was taken at Hutchinson Cox, 940 Willamette

   Street, Suite 400, Eugene, Oregon, 97401, before

   Sara Fahey Wilson, CSR/CCR, Certified Shorthand

   Reporter in and for the State of Oregon and

   Washington.




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                                                                 Exhibit 19
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1             A.     We only carry it when we're actually

2       outside the jail, so a few medical transports.

3             Q.     And I don't think I asked earlier.                 Are

4       you still located within the jail?

5             A.     Yes.

6             Q.     You're not a patrol deputy?

7             A.     Yeah, I'm in the jail.

8             Q.     So we're going to go now to the incident

9       on March 27th.        Do you remember the incident that

10      Landon Payne was brought into the jail?

11            A.     Yep.

12            Q.     Can you describe what happened that day?

13            A.     From what I remember, it was scary COVID

14      time so we were all still trying to figure out what

15      the heck was going on with that.

16                   And so we already knew who EPD was

17      bringing in before they came in -- you know,

18      obviously still out in the car, but we knew -- and I

19      forget where -- what warrant he was on, but it was

20      just an out-of-county warrant.             And the sergeants

21      and our records have already -- had already gotten

22      that cleared so we didn't need to lodge him.                    I

23      remember them telling them that.

24                   And EPD, for the most part, saying -- and

25      I don't know the officer's name, and I'm probably




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1       not 100 percent quoting, but, Okay.                Well, if you're

2       going to release him on that, then I'll get him for

3       resisting, or whatever his charge was, and now you

4       have to take him.

5                    And then I remember the sergeant kind of

6       going back-and-forth with the officer for a little

7       bit and then finally going, Okay.              Let's bring him

8       in.     And at that point -- I forget which deputy was

9       taking lead as far as that goes -- went and tried to

10      do our usual -- what we do with every book-in --

11      talking to them, Hey, how is it going?                 Things like

12      that.     Are you having any issues?

13                   Once that was done and it was decided to

14      take him out of the car, he was taken out of the

15      car.     I remember in the car he was thrashing about,

16      kicking, pretty unruly.           And so once we got him out,

17      he was doing the same thing, so he was lowered down

18      to the ground and everybody kind of positioned

19      themselves around him to be able to do what they

20      needed to do.        Kind of, everybody had a job.

21                   So I was down on the feet, and I had leg

22      irons.     Because he was kicking everywhere, the goal

23      was to get leg irons on him so he wouldn't -- it

24      would be harder for him to kick, and if he started

25      to, we can kind of step on the chain and it limits




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                                                                      Exhibit 19
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1       the amount his feet can move so nobody would get

2       hurt.

3                    But it took quite a while.             There was a

4       person on each leg and he kept kicking, so it took

5       quite a while to actually get both leg irons on.                       I

6       don't know time frame.           I just remember it was an

7       effort.

8                    And then at that point we already knew we

9       were going to be taking him to our special housing

10      unit because he was being so combative.                 And then

11      that's also where any medical -- major medical

12      issues would go, or things like that.                 So while we

13      were there, I went ahead and -- you know, we were

14      going to need his clothes from him, so since we

15      weren't necessarily doing anything at the time, once

16      we were secured I went ahead and removed his shoes

17      and socks just to save that much more time once we

18      got him to the cell.

19                   About that time is when -- because I'm

20      concentrating down here -- about that time is when

21      some people at the head were -- "Hey, something is

22      not quite right."

23                   And then a code was called, which is us

24      trying to get medical help.               And then I know I kind

25      of -- once we knew -- once I knew I didn't need to,




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                          EXHIBIT 20
                 (Thumb drive to be mailed)
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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF OREGON
                              EUGENE DISTRICT


         ANZHELIA PAYNE, personal
         representative to the estate of
         LANDON PAYNE,

                        Plaintiff,
         v.                                            No. 6:22-CV-00471-MC

         JAIRO SOLORIO, individual, ANDREW
         ROBERTS, an individual, JACOB
         THOMAS, an individual, ROBERT
         GRIESEL, an individual, JUSTIN
         WILSON, an individual, KIMBERLY
         FULTON, an individual, EMMA
         EDWARDS, an individual, COLTER
         GAWITH, an individual, NATHAN GENT,
         an individual, MICHAEL BAEUERLEN,
         an individual, STEPHEN FOLEY, an
         individual, JOSEPH FISHER, an
         individual, JEREMY FIFER, an
         individual, WILLIAM MCCLURE, an
         individual, LANCE JESTER, an
         individual, CLINT RILEY, an
         individual, C. SANTINI, an
         individual, LANE COUNTY, and CITY
         OF EUGENE, a municipal corporation,

                   Defendants.
         _____________________________________________________


                                                VIDEOTAPED DEPOSITION OF

                                                       OFFICER JAIRO SOLORIO


                                                               TAKEN ON
                                             MONDAY, SEPTEMBER 18, 2023
                                                              9:35 A.M.


                                                EUGENE POLICE DEPARTMENT
                                                   300 COUNTRY CLUB ROAD
                                                   EUGENE, OREGON 97401
                                                                    Exhibit 21
                                                                   Page 1 of 8
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                         Jairo Solorio Ofc September 18, 2023 NDT Assgn # 68572


 1 correct?

 2         A.   Yes.

 3         Q.   And why didn't you transport him to the

 4 hospital?

 5         A.   Because medics arrived on scene after he

 6 had been tased and evaluated him, and they cleared

 7 him to go to the -- over hospital to the jail.

 8         Q.   Do you know which medic?

 9         A.   I don't.

10         Q.   Do you know the Springfield and Eugene

11 EMTs?

12         A.   Do I know them?

13         Q.   Yeah.   Do you know some of them?

14         A.   No.

15         Q.   You don't know any of them?

16         A.   No.

17         Q.   Do you remember which ambulance or engine

18 showed up?

19         A.   No.

20         Q.   What did the EMTs do to clear Landon

21 Payne, as you described it?

22         A.   I don't know.      I don't remember.

23         Q.   Did they check his vitals?

24         A.   I don't know.

25         Q.   Why were EMTs dispatched to clear Landon



                                                                      Exhibit 21
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                         Jairo Solorio Ofc September 18, 2023 NDT Assgn # 68572


 1 Payne before leaving the scene?

 2       A.    To get medically evaluated before going to

 3 the jail.

 4       Q.    But why?

 5       A.    Because he had been tased.

 6       Q.    So who told you that Landon Payne was

 7 clear?

 8       A.    I don't remember.

 9       Q.    Did Sergeant Griesel tell you that?

10       A.    I wouldn't be able to tell you.            I don't

11 remember who told me.

12       Q.    But as the transporting officer who -- you

13 know, as the -- as the officer who drove Landon

14 Payne from the scene to the jail, you would not have

15 left the scene with him unless he had been medically

16 cleared, correct?

17       A.    Yes, unless he was medically cleared by

18 the medics that were on scene.

19       Q.    Okay.    So what -- what's the procedure?

20 Is the medic supposed to tell you that he's been

21 cleared?

22       A.    Yeah.    Typically, once they do their job,

23 they let an officer know, and then that person gets

24 transported to the jail.

25       Q.    So in this case, were you the officer that



                                                                      Exhibit 21
                                                                     Page 3 of 8
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                         Jairo Solorio Ofc September 18, 2023 NDT Assgn # 68572


 1 they let know that Landon had been cleared?

 2       A.     I don't remember if they told me.

 3       Q.     I'm just trying to figure out where you

 4 got this clearance information.           Was it directly

 5 from the EMTs or was it from another officer on

 6 scene?

 7       A.     I don't remember who told me.          Yeah, I

 8 can't remember who told me.

 9       Q.     But you're sure that somebody told you?

10       A.    Yes.    Yes, that's my understanding that

11 somebody told me.

12       Q.     Did you have any expectation that staff at

13 the Lane County Jail were going to medically

14 evaluate or clear Landon Payne that night?

15       A.    Yes.

16       Q.     Why did you think that?        If he'd already

17 been cleared, why did you think that?

18       A.    Because that's what they do.           Those are

19 their procedures.

20       Q.     Were you relying on the jail to medically

21 evaluate Landon Payne in lieu of the EMT evaluation?

22              MS. MORROW:     Objection, misstates prior

23 testimony.     Go ahead.

24              THE DEPONENT:      No.

25              (WHEREUPON, Exhibit 142 was marked for



                                                                      Exhibit 21
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                         Jairo Solorio Ofc September 18, 2023 NDT Assgn # 68572


 1         Q.   At some point.      Do you give them to the

 2 city?

 3         A.   No, not unless they ask for them.

 4         Q.   The city doesn't have a policy where they

 5 keep those?

 6         A.   They might.     I keep them, so I guess

 7 that's -- I work for the city.

 8              (WHEREUPON, Exhibit 144 was marked for

 9 identification.)

10 BY MR. LARWICK:

11         Q.   Let's take a look at Exhibit 144.           Do you

12 recognize Exhibit 144, what it depicts?

13         A.   Yes.

14         Q.   What is it?

15         A.   It's Landon sitting in the back of my

16 patrol car, and it appears to be me in the trunk of

17 the patrol car.

18         Q.   So that scene probably took place once you

19 arrived to the jail?

20         A.   Yes.

21         Q.   And that's called the sally port.           Do you

22 call it the "sally port," the jail?

23         A.   Yes, yes.

24         Q.   How would you describe Landon Payne's

25 behavior while you were driving him to the jail?



                                                                      Exhibit 21
                                                                     Page 5 of 8
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 1        A.   He had very erratic behavior, a lot of

 2 screaming or yelling, like outbursts.

 3        Q.   Anything else?

 4        A.   I can't add anything else.

 5        Q.   After he -- so after Landon Payne had been

 6 tased and arrested, did you ever hear him say, like,

 7 a complete sentence following that?

 8        A.   I don't remember if he said -- or if I

 9 heard him say anything like a complete sentence.

10 Yeah, I don't remember.

11        Q.   Did you have a conversation with him while

12 you were driving to the jail?

13        A.   I don't remember if I had a conversation

14 with him.

15        Q.   Did he say anything to you that was

16 intelligible during that drive to the jail?

17        A.   I don't remember.

18        Q.   While you -- while he was in your car and

19 you were driving him to the jail, did you think that

20 Landon Payne understood anything that you said to

21 him?

22        A.   I think he still understood anything that

23 I would say to him.

24        Q.   What makes you think that?

25        A.   Because other than him still showing the



                                                                      Exhibit 21
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                         Jairo Solorio Ofc September 18, 2023 NDT Assgn # 68572


 1       Q.     When you say "him," who are you --

 2       A.    Landon, sorry.

 3       Q.     Do you -- you remember Landon saying

 4 something about having difficulty breathing?

 5       A.    I don't remember if it was difficulty

 6 breathing.     I just remember before putting him in

 7 the car -- maybe it was an officer, maybe it was

 8 Landon -- but I remember someone saying something

 9 about breathing.       Yeah.

10       Q.     Did that comment about the difficulty

11 breathing or something about breathing, did that

12 cause you to have any concerns about Landon Payne's

13 health?

14       A.    No.

15              (WHEREUPON, Exhibit 145 was marked for

16 identification.)

17 BY MR. LARWICK:

18       Q.     All right.     Let's turn to Exhibit 145.

19 Exhibit 145 shows the City of Eugene police vehicle

20 that you were driving that night, correct?

21       A.    It appears to be.

22       Q.     Is there a number on it?

23       A.    Yeah, I can't read it.         I think it's 140-

24 something, looks like it might be an eight.

25       Q.     So the person over in the far left of



                                                                      Exhibit 21
                                                                     Page 7 of 8
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1                                  CERTIFICATE

2

3            I, Ryan Batterson, do hereby certify that I

4       reported all proceedings adduced in the foregoing

5       matter and that the foregoing transcript pages

6       constitutes a full, true and accurate record of said

7       proceedings to the best of my ability.

8

9            I further certify that I am neither related

10      to counsel or any party to the proceedings nor have any

11      interest in the outcome of the proceedings.

12

13           IN WITNESS HEREOF, I have hereunto set my hand this

14      9th day of October, 2023.

15

16

17

18

19                       Ryan Batterson

20

21

22

23

24

25




                                                                        Exhibit 21
                                                                       Page 8 of 8
